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                                   EXHIBIT A

                         Blackline Proposed Interim Order




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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE


                                                                        )
        In re:                                                          )   Chapter 11
                                                                        )
        IRONNET, INC., et al.,1                                         )   Case No. 23-_____23-11710 (___BLS)
                                                                        )
                          Debtors.                                      )   (Jointly Administered)
                                                                        )
                                                                        )   Ref. Docket No. 12

                   INTERIM ORDER (A) AUTHORIZING THE DEBTORS TO (I) OBTAIN
              POSTPETITION FINANCING AND (II) USE CASH COLLATERAL, (B) GRANTING
             LIENS AND PROVIDING SUPERPRIORITY ADMINISTRATIVE EXPENSE CLAIMS,
                 (C) GRANTING ADEQUATE PROTECTION TO PREPETITION SECURED
                  PARTIES, (D) MODIFYING THE AUTOMATIC STAY, (E) SCHEDULING
                       A FINAL HEARING, AND (F) GRANTING RELATED RELIEF

                            Upon consideration of the motion (the “Motion”)2 of the above-captioned debtors

         and debtors in possession (collectively, the “Debtors”) for entry of an interim order

         (this “Interim Order”) and a final order (the “Final Order,” and together with the Interim

         Order, the “DIP Orders”), pursuant to sections 105, 361, 362, 363, 364(c), 364(d), 364(e), 503,

         507, and 552(b) of the Bankruptcy Code, Bankruptcy Rules 2002, 4001, 6003, 6004, and 9014,

         and Local Rules 2002-1, 4001-1(b), 4002-1, and 9013-1:

                            a.       authorizing the Debtors, in their capacity as borrowers, to obtain
                                     postpetition financing and other financial accommodations on a joint and
                                     several basis in connection with the debtor in possession financing,
                                     comprising, among other things, a superpriority senior secured facility
                                     (the “DIP Facility”) which consists of a multi-draw credit loan facility in
                                     an aggregate principal amount of up to $10 million, which shall be made
                                     available to the Debtors (i) in a roll up (the “DIP Roll-Up Loans”) of the
                                     approximately $1.5 million in outstanding Prepetition Bridge Facility

         1
               The Debtors in the above-captioned chapter 11 cases, along with the last four digits of each Debtor's federal tax
               identification number, are as follows: IronNet, Inc. (9446), IronNet Cybersecurity, Inc. (2655), IronNet
               International, LLC (7621), IronCAD LLC (1162), and HighDegree, LLC (8474). The Debtors' corporate
               headquarters is located at 7900 Tysons One Place, Suite 400, McLean, VA 22102.
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               Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion
               or the DIP Documents (as defined below), as applicable.
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                   Obligations (defined below) in accordance with the terms substantially set
                   forth in the Superpriority Secured Debtor-in-Possession Credit Facility
                   Term Sheet attached hereto as Exhibit 1 (the “DIP Term Sheet”) upon
                   entry of this Interim Order, (ii) up to $4.5 million (including the aggregate
                   amount of the Roll-Up Loans) in accordance with the terms substantially
                   set forth in the DIP Term Sheet upon entry of this Interim Order, and
                   (iii) the remaining principal amount available under the DIP Facility in
                   accordance with the terms of the DIP Documents upon entry of the Final
                   Order (such loans described in this paragraph, the “DIP Loans”) to be
                   funded by ITC Global Advisers, LLC and an affiliate of C5 (defined
                   below) as further described in the DIP Term Sheet (collectively, the “DIP
                   Lenders”);
              b.   authorizing the Debtors to execute the DIP Term Sheet and the other
                   documents, agreements and instruments delivered pursuant thereto or
                   executed or filed in connection therewith, including the Bridge Documents
                   (as defined below), all as may be reasonably requested by the DIP Lenders
                   (as the same may be amended, restated, supplemented or otherwise
                   modified from time to time, collectively, the “DIP Documents”);
              c.   authorizing the Debtors to use the proceeds of the DIP Loans and Cash
                   Collateral, as further described herein, to, among other things, pay for
                   working capital needs of the Debtors in the ordinary course of business
                   and for the costs and expenses of administering these chapter 11 cases;
              d.   granting adequate protection, with respect to each of the Debtors, to the
                   Prepetition Secured Creditors;
              e.   authorizing, on the terms set forth herein, the Debtors to pay, the
                   principal, interest, fees, expenses, and other amounts payable under the
                   DIP Documents as such become earned, due and payable, including,
                   without limitation, the an agency fee of $300,000 (the “Agency Fee”) and
                   reasonable fees and disbursements of the DIP Agent’s legal and financial
                   advisor pursuant to the DIP Term Sheet;
              f.   granting superpriority administrative expense claims pursuant to
                   section 364(c)(1) of the Bankruptcy Code against each of the Debtors’
                   estates to the DIP Lender, with respect to all obligations owing and
                   outstanding thereunder and under the DIP Documents, as applicable, and
                   this Interim Order and any Final Order, as applicable (collectively,
                   the “DIP Obligations”), with priority over any and all administrative
                   expenses of any kind or nature subject and subordinate only to the Carve
                   Out (as defined below) on the terms and conditions set forth herein, in the
                   DIP Term Sheet and the DIP Documents;
              g.   subject to the Carve-Out, granting to the DIP Agent, for the benefit of
                   itself and the DIP Lender, valid, enforceable, nonavoidable, automatically,
                   validly and fully perfected security interests in and liens on all of the DIP
                   Collateral (as defined below) pursuant to sections 364(c)(2), 364(c)(3),

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                               and 364(d) of the Bankruptcy Code, including all property constituting
                               Cash Collateral;
                       h.      subject to and effective upon entry of the Final Order, in each case except
                               to the extent of the Carve-Out, determining that (i) the Debtors have
                               waived any right to surcharge any collateral pursuant to sections 105(a)
                               and 506(c) of the Bankruptcy Code or otherwise, (ii) the equitable
                               doctrine of marshaling and other similar doctrines shall not apply, and
                               (iii) the “equities of the case” exception under section 552(b) of the
                               Bankruptcy Code shall not apply; provided, that upon entry of the Final
                               Order, any DIP Obligations and AP Superpriority Claims (as defined
                               below) may be collected out of the proceeds of any Avoidance Actions;
                       i.      vacating and modifying the automatic stay imposed by section 362 of the
                               Bankruptcy Code to the extent necessary to implement and effectuate the
                               terms and provisions of the DIP Documents and this Interim Order; and
                       j.      scheduling a final hearing (the “Final Hearing”) to consider the relief
                               requested in the Motion and approving the form of notice with respect to
                               the Final Hearing.

                       This Court having considered the Motion, the exhibits attached thereto,

         the Declaration of Cameron Pforr in Support of the Debtors’ Emergency Motion for Entry of

         Interim and Final Orders (I) Authorizing the Debtors to (A) Obtain Postpetition Financing and

         (B) Use Cash Collateral, (II) Granting Liens and Providing Superpriority Administrative

         Expense Claims, (III) Granting Adequate Protection to Prepetition Secured Parties, (IV)

         Modifying the Automatic Stay, (V) Scheduling a Final Hearing, and (VI) Granting Related Relief

         and the Declaration of Cameron Pforr, President and Chief Financial Officer of the Debtors, in

         Support of Chapter 11 Petitions and First Day Pleadings, and the evidence submitted and

         arguments made at the interim hearing held on October [*]13, 2023 (the “Interim Hearing”);

         and notice of the Interim Hearing having been given in accordance with Bankruptcy Rules 2002,

         4001(b), (c) and (d), and all applicable Local Rules; and the Interim Hearing having been held

         and concluded; and all objections, if any, to the interim relief requested in the Motion having

         been withdrawn, resolved, or overruled by this Court; and it appearing that approval of the



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         interim relief requested in the Motion is necessary to avoid immediate and irreparable harm to

         the Debtors and their estates pending the Final Hearing, and otherwise is fair and reasonable and

         in the best interests of the Debtors, their estates, and all parties-in-interest, and is essential for the

         continued operation of the Debtors’ businesses and the preservation of the value of the Debtors’

         assets; and it appearing that the Debtors’ entry into the DIP Term Sheet and the other DIP

         Documents is a sound and prudent exercise of the Debtors’ business judgment; and after due

         deliberation and consideration, and good and sufficient cause appearing therefor;

                          BASED UPON THE RECORD ESTABLISHED AT THE INTERIM

         HEARING, THIS COURT MAKES THE FOLLOWING FINDINGS OF FACT AND

         CONCLUSIONS OF LAW:3

                          A.      Petition Date. On October 12, 2023 (the “Petition Date”), each of the

         Debtors filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code in this

         Court.

                          B.      Debtors in Possession. The Debtors have continued in the management

         and operation of their businesses and properties as debtors in possession pursuant to

         sections 1107 and 1108 of the Bankruptcy Code.

                          C.      Jurisdiction and Venue.              This Court has jurisdiction over these

         chapter 11 cases, the Motion, and the parties and property affected hereby pursuant to 28 U.S.C.

         § 1334. Consideration of the Motion constitutes a core proceeding pursuant to 28 U.S.C.

         § 157(b)(2). Venue for these chapter 11 cases and proceedings with respect to the Motion is



         3
             The findings and conclusions set forth herein constitute this Court’s findings of fact and conclusions of law
             pursuant to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014.
             To the extent that any of the following findings of fact constitute conclusions of law, they are adopted as
             such. To the extent any of the following conclusions of law constitute findings of fact, they are adopted as
             such.
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         proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409. The bases for the relief sought

         in the Motion and grated in this Interim Order are sections 105, 361, 362, 363, 364, 503, 506,

         507, and 552 of the Bankruptcy Code, Bankruptcy Rules 2002, 4001, 6004, and 9014, and the

         Local Bankruptcy Rules.

                        D.      Committee Formation. As of the date hereof, the United States Trustee

         for the District of Delaware (the “U.S. Trustee”) has not yet appointed an official committee of

         unsecured creditors in these chapter 11 cases (a “Creditors’ Committee”) pursuant to

         section 1102 of the Bankruptcy Code.

                        E.      Notice. As described in the Motion, notice of the Motion and the Interim

         Hearing has been provided in accordance with the Bankruptcy Code, the Bankruptcy Rules, and

         the Local Rules, and no other or further notice of the Motion with respect to the relief requested

         at the Interim Hearing or the entry of this Interim Order shall be required.

                        F.      Debtors’ Acknowledgements and Stipulations. In entering into the DIP

         Documents and in exchange for and as a material inducement to the DIP Lenders to agree to

         provide the DIP Facility, and to the Prepetition Secured Parties in exchange for their consent to

         use Cash Collateral and to subordinate their liens as provided for herein, the Debtors

         acknowledge, represent, stipulate and agree, for themselves and their estates, subject to the

         challenge rights set forth in paragraph 24 herein, as follows:

                                1.     Prepetition Director Notes.        On December 2022, April 2023,

         May 2023, and August 2023, IRNT issued and sold senior secured promissory notes in an

         aggregate principal amount of $8,475,000 million (the “Director Notes”) to a total of eight

         lenders (the “Director Noteholders”), which included seven lenders who are either Company

         directors or entities affiliated with Company directors.


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                                2.      Prepetition C5 Notes. On December 30, 2022, IRNT issued a

         senior secured convertible promissory note in the principal amount of $2,000,000 (the “Initial

         C5 Note”) to an affiliate of C5 Capital Limited (“C5,” and together with the Director

         Noteholders, the “Prepetition Secured Creditors”).            In January 2023, February 2023,

         April 2023, and May 2023, and September 2023, IRNT issued additional senior secured

         convertible promissory notes to affiliates of C5 (together with the Initial C5 Note, the “C5

         Notes,” and together with the Director Notes, the “Prepetition Secured Notes”) in principal

         amounts of $3,000,000, $6,250,000, $600,000, and $2,300,000, and $300,000, respectively.

                                3.      Prepetition Collateral. Pursuant to the Prepetition Secured Notes

         and related documentation (the “Prepetition Secured Note Documents”), IRNT’s obligations

         under the Prepetition Secured Notes are secured by substantially all of IRNT’s assets, excluding

         certain intellectual property (the “Prepetition Collateral”). All of the Debtors’ cash, including

         the cash in their deposit accounts and other accounts, wherever located, whether as original

         collateral or proceeds of other Prepetition Collateral, constitutes Cash Collateral.

                                4.      As of the Petition Date, (a) the Prepetition Secured Notes (i) are

         secured by legal, valid, binding, enforceable, unavoidable, and perfected liens (the “Prepetition

         Liens”) on the Prepetition Collateral, (ii) were granted to, or for the benefit of, the Prepetition

         Secured Creditors for fair consideration and reasonably equivalent value, (iii) are not subject to

         avoidance, recharacterization, or subordination pursuant to the Bankruptcy Code or applicable

         non-bankruptcy law (except for the priming contemplated herein), and (iv) are subject and

         subordinate only to (1) the DIP Liens (after giving effect to this Interim Order) and (2) the

         Carve-Out (after giving effect to this Interim Order); and (b) (i) the prepetition obligations under

         the Prepetition Secured Notes (“Prepetition Secured Note Obligations”) constitute legal, valid,


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         and binding obligations of the applicable Debtors, enforceable in accordance with the terms of

         the applicable Prepetition Secured Note Documents (other than in respect of the stay of

         enforcement arising from section 362 of the Bankruptcy Code), (ii) no setoffs, recoupments,

         offsets, defenses, or counterclaims to any of the Prepetition Secured Note Obligations exist, and

         (iii) no portion of the Prepetition Secured Note Obligations or any payments made to any or all

         of the Prepetition Secured Creditors are subject to avoidance, disallowance, disgorgement,

         recharacterization, recovery, subordination, attack, offset, counterclaim, defense, or “claim”

         (as defined in section 101(5) of the Bankruptcy Code) of any kind pursuant to the Bankruptcy

         Code or applicable non-bankruptcy law.

                                5.     Amounts Owed under Prepetition Secured Note Documents. As of

         the Petition Date, approximately $25,300,00 of indebtedness under the Prepetition Secured

         Notes was outstanding, which amount is comprised of $23,800,000 in principal amount and

         accrued and unpaid interest, premiums, and fees in the amount of $1,500,000.

                                6.     The Prepetition Secured Creditors are entitled, pursuant to

         sections 361, 363(e) and 364(d) of the Bankruptcy Code, to adequate protection of their

         respective interests in the Prepetition Collateral, including the Cash Collateral, to the extent of

         any diminution in the value of the Prepetition Collateral occurring from and after the Petition

         Date (the “Diminution”), caused by or arising as a result of, among other things, (a) the

         incurrence and payment of the DIP Obligations, (b) the use of Prepetition Collateral (including

         Cash Collateral), (c) the granting of the DIP Liens and the DIP Superpriority Claims, (d) the

         subordination of the Prepetition Obligations to the DIP Obligations and the Carve-Out, and

         (e) imposition of the automatic stay pursuant to section 362 of the Bankruptcy Code.




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                                7.     Bridge Facility. Pursuant to DIP Term Sheet and the applicable

         documentation (the “Bridge Documentation”), Ferrous Investors LP, an affiliate of C5,, as

         bridge lender (the “Bridge Lender”), advanced $1,244,000 to the Debtors on October 10, 2023

         and $256,000 to the Debtors on October 11, 2023 to allow for the orderly transition of the

         Debtors into these chapter 11 cases (the “Bridge Facility Obligations”).

                                8.     Pursuant to the Bridge Documentation, each Debtor granted to the

         Bridge Lender a security interest in and lien on all assets of each Debtor (the “Bridge Facility

         Liens”). On October 11, 2023, the Bridge Lender filed a UCC-1, as well as certain intellectual

         property security agreements, against each Debtor perfecting the Bridge Facility Liens. As of

         the Petition Date, (a) the Bridge Facility Liens (i) are legal, valid, binding, enforceable, and

         perfected Liens, (ii) were granted to, or for the benefit of, the Bridge Lender for fair

         consideration and reasonably equivalent value, (iii) are not subject to avoidance,

         recharacterization, or subordination pursuant to the Bankruptcy Code or applicable

         non-bankruptcy law, and (iv) are subject and subordinate only to valid, perfected, and

         unavoidable liens permitted under the Prepetition Secured Note Documents (other than the

         Prepetition Liens) to the extent that such permitted liens are senior to the Liens granted to the

         Prepetition Secured Creditors pursuant to the Prepetition Secured Note Documents (the “Senior

         Permitted Liens”); and (b) (i) the Bridge Facility Obligations constitute legal, valid, and

         binding obligations of the applicable Debtors, enforceable in accordance with the terms of the

         DIP Term Sheet, the DIP Documents, the Bridge Facility Documents and this Interim Order, (ii)

         no setoffs, recoupments, offsets, defenses, or counterclaims to any of the Bridge Facility

         Obligations exist, and (iii) no portion of the Bridge Facility Obligations are subject to avoidance,

         disallowance, disgorgement, recharacterization, recovery, subordination, attack, offset,


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         counterclaim, defense, or “claim” (as defined in section 101(5) of the Bankruptcy Code) of any

         kind pursuant to the Bankruptcy Code or applicable non-bankruptcy law.

                                9.     The DIP Lenders willingness to make the DIP Loans is

         conditioned upon all Bridge Facility Obligations being automatically converted into DIP Roll-up

         Loans upon entry of this Interim Order. The Bridge Facility was made available to the Debtors

         on the condition that the Debtors would seek to have such obligations treated as DIP Roll-up

         Loans upon entry of this Interim Order. The DIP Roll-up Loans shall be authorized and

         approved upon entry of the Interim Order as compensation for, in consideration for, and on

         account of, among other things, the agreement of the DIP Lenders to fund amounts, and provide

         other consideration to the Debtors under the DIP Facility.

                        G.      Cash Collateral. For purposes of this Interim Order, the term “Cash

         Collateral” shall mean and include all “cash collateral,” as defined in section 363 of the

         Bankruptcy Code, in or on which the DIP Lenders or the Prepetition Secured Creditors have a

         lien, security interest or any other interest (including, without limitation, any AP Liens or

         security interests), whether existing on the Petition Date, arising pursuant to this Interim Order,

         or otherwise, and shall include, without limitation:

                                1.     all cash proceeds arising from the collection, sale, lease or other

         disposition, use or conversion of any real or personal property, in or on which the DIP Lenders

         or the Prepetition Secured Creditors have a lien or a replacement lien, whether as part of the DIP

         Collateral or the Prepetition Collateral, or pursuant to an order of this Court or applicable law or

         otherwise, and whether such property has been converted to cash, existed as of the

         commencement of these chapter 11 cases, or arose or was generated thereafter; and




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                                2.     all of the respective deposits, refund claims and rights in retainers

         of the Debtors on which the DIP Lenders or the Prepetition Secured Creditors hold a lien or

         replacement lien, whether as part of the DIP Collateral or Prepetition Collateral or pursuant to an

         order of this Court or applicable law or otherwise; and the proceeds of any sale, transfer or other

         disposition of DIP Collateral or Prepetition Collateral.

                        H.      Adequate Protection. The Prepetition Secured Creditors are entitled,

         pursuant to sections 361, 363 and 364 of the Bankruptcy Code, to adequate protection of their

         interests in the Prepetition Collateral, including the Cash Collateral, to the extent of any

         Diminution resulting from, among other things, (i) the incurrence of the DIP Obligations, (ii) the

         use of Prepetition Collateral (including Cash Collateral), (iii) the granting of the DIP Liens and

         the DIP Superpriority Claims, (iv) the subordination of the Prepetition Obligations to the DIP

         Obligations and the Carve- Out, and (v) imposition of the automatic stay pursuant to section 362

         of the Bankruptcy Code.

                        I.      Purpose and Necessity of Financing. The Debtors require the DIP

         Facility and use of Cash Collateral to (i) permit the continuation of their businesses and

         maximize and preserve their going concern value, (ii) satisfy payroll obligations and other

         working capital and general corporate purposes of the Debtors consistent with the terms set forth

         in the DIP Documents and the Budget (as defined below), (iii) provide adequate protection to the

         Prepetition Secured Creditors, (iv) pay fees and expenses related to the DIP Documents and

         these chapter 11 cases, and (v) for such other purposes as set forth in, or otherwise permitted by,

         the DIP Documents (including the Budget). If the Debtors do not obtain authorization to use the

         Prepetition Collateral (including Cash Collateral) and borrow under the DIP Documents, they

         will suffer immediate and irreparable harm.           The Debtors are unable to obtain adequate


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         unsecured credit allowable only as an administrative expense under section 503 of the

         Bankruptcy Code, or other sufficient financing under sections 364(c) or (d) of the Bankruptcy

         Code, on more favorable terms than those set forth in the DIP Documents. A loan facility in the

         amount provided by the DIP Documents is not available to the Debtors without granting the

         superpriority claims, liens and security interests, pursuant to sections 364(c)(1), 364(c)(2),

         364(c)(3), and 364(d) of the Bankruptcy Code, as provided in this Interim Order and the DIP

         Documents. After considering all alternatives, the Debtors have concluded, in the exercise of

         their sound business judgment, that the DIP Facility is the best financing available to them at this

         time.

                         J.      Good and Sufficient Cause Shown. Good and sufficient cause has been

         shown for entry of this Interim Order. The ability of the Debtors to obtain sufficient working

         capital and liquidity under the DIP Documents and use of the Prepetition Collateral (including

         the Cash Collateral) is vital to the Debtors’ estates and creditors. The liquidity to be provided

         under the DIP Documents and this Interim Order will enable the Debtors to continue to operate

         their businesses in the ordinary course and preserve the value of the Debtors’ businesses during

         the pendency of these chapter 11 cases. Among other things, entry of this Interim Order is

         necessary to maximize the value of the Debtors’ assets and to avoid immediate and irreparable

         harm to the Debtors and their estates, and, accordingly, is in the best interests of the Debtors,

         their estates and their creditors.

                         K.      Sections 506(c) and 552(b) Waivers. In light of (i) the DIP Lenders’

         agreement to subordinate their liens and superpriority claims to the Carve-Out, and in exchange

         for and as a material inducement to the DIP Lenders to agree to provide the DIP Facility and

         (ii) the Prepetition Secured Creditors’ agreement to subordinate their liens and superpriority


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         claims to the DIP Obligations, the Carve-Out and the DIP Liens, and to permit the use of the

         Prepetition Collateral (including Cash Collateral) for payments made in accordance with the

         Budget and the terms of this Interim Order, upon entry of the Final Order, each of the DIP

         Lenders and the Prepetition Secured Creditors are entitled to a marshalling waiver and a waiver

         of the provisions of section 506(c) of the Bankruptcy Code, and the exceptions provided in

         sections 552(b)(1) and (2) of the Bankruptcy Code.

                        L.     Good Faith. The terms of the DIP Documents, including the Bridge

         Documentation, and the use of the Prepetition Collateral (including the Cash Collateral) pursuant

         to this Interim Order, including, without limitation, the interest rates and fees applicable, and

         intangible factors relevant thereto, are more favorable to the Debtors than those available from

         alternative sources. Based upon the record before this Court, the terms of the DIP Documents

         and the use of the Prepetition Collateral (including the Cash Collateral) pursuant to this Interim

         Order have been negotiated in good faith and at arm’s-length among the Debtors, the DIP

         Lenders and the Prepetition Secured Creditors. Any DIP Loans and other financial

         accommodations made to the Debtors by the DIP Lenders pursuant to the DIP Documents,

         including the Bridge Documentation, and this Interim Order shall be deemed to have been

         extended by the DIP Lenders in good faith, as that term is used in section 364(e) of the

         Bankruptcy Code, and each of the DIP Lenders shall be entitled to all protections and benefits

         afforded thereby.

                        M.     Fair Consideration and Reasonably Equivalent Value.              All of the

         Debtors have received and will receive fair and reasonable consideration by virtue of their

         obtaining access to the DIP Loans, the use of the Prepetition Collateral (including the Cash

         Collateral) pursuant to this Interim Order and all other financial accommodations provided under


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         the DIP Documents, including the Bridge Documentation, and this Interim Order. The terms of

         the DIP Documents, including the Bridge Documentation, and this Interim Order are fair and

         reasonable, reflect the Debtors’ exercise of prudent business judgment consistent with their

         fiduciary duties and are supported by reasonably equivalent value and fair consideration.

                         N.      Immediate Entry of Interim Order.               The Debtors have requested

         immediate entry of this Interim Order pursuant to Bankruptcy Rule 4001(c)(2) and Local

         Rule 4001-2(b). The permission granted herein to enter into the DIP Documents, to obtain funds

         thereunder and to use the Prepetition Collateral (including the Cash Collateral) pursuant to this

         Interim Order is necessary to avoid immediate and irreparable harm to the Debtors. This Court

         concludes that entry of this Interim Order is in the best interests of the Debtors’ respective

         estates and creditors as its implementation will, among other things, allow for access to the

         financing necessary for the continued flow of supplies and services to the Debtors necessary to

         sustain the operation of the Debtors’ existing businesses and further enhance the Debtors’

         prospects for a successful sale of substantially all of their assets.

                         Based upon the foregoing findings and conclusions, the Motion, and the record

         before this Court with respect to the Motion, and after due consideration and good and sufficient

         cause appearing therefor, IT IS HEREBY ORDERED THAT:

                         1.      DIP Facility Approved on Interim Basis. The relief sought in the Motion

         is granted to the extent set forth herein, the interim financing described herein, including the

         conversion of the Bridge Loans into DIP Roll-Up Loans, is authorized and approved, and the

         use of Cash Collateral on an interim basis is authorized, in each case subject to the terms and

         conditions set forth in the DIP Documents, the Bridge Documentation and this Interim Order.

         All objections to this Interim Order, to the extent not withdrawn, waived, settled, or resolved,


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         are hereby denied and overruled on the merits. This Interim Order shall become effective

         immediately upon its entry.

                        2.     Authorization of the DIP Documents and the DIP Facility.

                               a.      The Debtors are expressly authorized to execute and deliver, and

         upon such execution and delivery, to perform under the DIP Documents, including the DIP Term

         Sheet and the Bridge Documentation, which are hereby approved and incorporated herein by

         reference.   Unless and until the Debtors and DIP Lenders enter into the definitive DIP

         Documents consistent with the terms of the DIP Term Sheet, the Bridge Documentation and this

         Interim Order, upon entry of this Interim Order, the Debtors, DIP Lenders and DIP Agent shall

         be bound by (i) the terms and conditions and other provisions set forth in the DIP Term Sheet

         and the Bridge Documentation, as applicable, and (ii) this Interim Order, and this Interim Order,

         the Bridge Documentation and the DIP Term Sheet shall govern and control the DIP Facility. A

         copy of the Bridge Documentation is attached hereto as Exhibit 2.

                               b.      Upon entry of this Interim Order, the Debtors are hereby

         immediately authorized, subject to the terms and conditions of the DIP Term Sheet, to (i) borrow

         up to an aggregate principal amount $4.5 million (including the principal amount of the DIP

         Roll-Up Loans) under the Interim DIP Loan, (ii) incur the DIP Roll-Up Loans and, without any

         further action by the Debtors or any other party, and (iii) include such DIP Roll-Up Loans in the

         DIP Obligations.

                        3.     DIP Obligations. The DIP Term Sheet, the Bridge Documentation, and

         the other DIP Documents shall constitute legal, valid, binding obligations of the Debtor, DIP

         Lenders and DIP Agent, enforceable in accordance with their terms and the terms of this Interim

         Order. The obligations of the Debtors thereunder shall be enforceable against the Debtors and


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         their estates and any successors thereto, including any trustee appointed in these chapter 11

         cases, or in any case under chapter 7 of the Bankruptcy Code upon the conversion of any of

         these chapter 11 cases or any other chapter of the Bankruptcy Code, or in any other proceedings

         superseding or related to any of the foregoing (collectively, the “Successor Cases”).

                        4.     Amendment of the DIP Documents. The DIP Documents may from time

         to time be amended, modified, waived, or supplemented by the parties thereto, in accordance

         with the terms thereof (and this Interim Order) without further order of this Court if the

         amendment, modification, waiver, or supplement is non-material and in accordance with the DIP

         Documents or are necessary to conform the terms of the DIP Documents to this Interim Order.

         In the case of a material amendment, modification, waiver, or supplement to the DIP Documents

         (which, for purposes of this paragraph 4, excludes the Budget); provided that, the Debtors shall

         provide notice (which may be provided through electronic mail or facsimile) to counsel to any

         Creditors’ Committee (if appointed), the U.S. Trustee, the DIP Agent, the DIP Lenders, and the

         Prepetition Secured Creditors, which parties shall have five (5) Business Days from the date of

         such notice within which to object, in writing, to such amendment, modification, waiver, or

         supplement. If any such party timely objects to such amendment, modification, waiver, or

         supplement to the DIP Documents, such amendment, modification, waiver, or supplement shall

         only be permitted pursuant to an order of this Court. Any material amendment, modification,

         waiver, or supplement to the DIP Documents, such material amendment, modification, waiver,

         or supplement shall only be permitted shall be made only pursuant to anCourt order of this

         Court. The foregoing shall be without prejudice to the Debtors’ right to seek approval from this

         Court of a material amendment, modification, waiver, or supplement with respect to the DIP

         Documents on an expedited basis, after notice and a hearing on parties in interest. For the


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         avoidance of doubt, the extension of a Milestone or waiver of the Variance Limit shall not

         constitute a material amendment, modification, waiver, or supplement to the DIP Documents.

                        5.     DIP Liens. Effective immediately upon entry of this Interim Order, and

         without any further action under state law, as security for the DIP Obligations and subject in all

         respects to the Carve-Out, pursuant to sections 361, 362, 364(c)(2), 364(c)(3), and 364(d) of the

         Bankruptcy Code, the DIP Agent, for the benefit of itself and the DIP Lenders, is hereby granted

         valid, binding, continuing, enforceable, non-avoidable, and automatically and properly perfected

         security interests and liens on all assets and properties of the Debtors (whether tangible,

         intangible, real, personal, or mixed), whether now owned or hereafter acquired and wherever

         located, before or after the Petition Date, including, without limitation, all cash, cash

         equivalents, accounts, inventory, equipment, equity interests or capital stock in domestic and

         foreign subsidiaries (subject to any limitation in the DIP Documents), investment property,

         instruments, chattel paper, real property, leasehold interests, contracts, patents, copyrights,

         trademarks and other general intangibles, receivables, all claims or causes of action (including,

         any commercial tort claims or causes of action, and subject to entry of the Final Order, the

         proceeds of Avoidance Actions and all products, offspring, profits, and proceeds thereof) (all of

         the foregoing collateral, collectively, the “DIP Collateral,” and the Security Interests (as

         defined below) thereon and therein, the “DIP Liens”); provided that, and notwithstanding

         anything to the contrary herein, the DIP Collateral shall not include Avoidance Actions

         themselves.    For the avoidance of doubt, the DIP Collateral shall include the Prepetition

         Collateral.

                        6.     DIP Lien Priority. The DIP Liens shall be, in all cases, subject to the

         Carve-Out, and have the priority set forth as follows:


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                                a.      pursuant to section 364(c)(2) of the Bankruptcy Code, the DIP

         Obligations shall be secured by a valid, binding, continuing, enforceable, fully-perfected first

         priority senior security interest in and lien upon all DIP Collateral that, on or as of the Petition

         Date, is not subject to any existing liens that;

                                b.      pursuant to section 364(c)(3) of the Bankruptcy Code, the DIP

         Obligations shall be secured by a valid, binding, continuing, enforceable, fully-protected junior

         security interest and lien upon all DIP Collateral that, on or as of the Petition Date, is not subject

         to any existing liens that, under applicable law, are senior to, and have not been subordinated to,

         the Prepetition Liens; and

                                c.      pursuant to section 364(d)(1) of the Bankruptcy Code, the DIP

         Obligations shall be secured by a valid, binding, continuing, enforceable, fully-perfected first

         priority priming security interest in and lien on all DIP Collateral, senior in priority to the

         Prepetition Liens.

                                d.      The DIP Liens shall be subject, and immediately junior, to valid,

         perfected, and non-avoidable Senior Permitted Liens in existence on the Petition Date that are

         not subject to subordination and were either properly perfected as of the Petition Date or

         subsequently perfected pursuant to section 546(b) of the Bankruptcy Code, including (i) liens

         arising by operation of law in favor of warehousemen, landlords, carriers, mechanics,

         materialmen, laborers or suppliers, in each case incurred in the ordinary course of business and

         not in connection with the borrowing of money, (ii) liens incurred in the ordinary course of

         business in connection with workers’ compensation and other unemployment insurance, or to

         secure the performance of tenders, surety and appeal bonds, bids, leases, government contracts,

         trade contracts and other similar obligations (exclusive of obligations for the payment of


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         borrowed money), (iii) rights of setoff or bankers’ liens upon deposits of cash in favor of banks

         or other depository institutions and (iv) any liens at IronNet Cybersecurity, Inc. appearing on

         Exhibit 3 to this Order.4

                          7.       DIP Superpriority Claims. In addition to the DIP Liens granted herein,

         effective immediately upon entry of this Interim Order, all of the DIP Obligations and all

         amounts owing by the Debtors under the DIP Documents, shall constitute allowed superpriority

         administrative expense claims pursuant to section 364(c)(1) of the Bankruptcy Code, which shall

         have priority, subject and subordinate only to the payment of the Carve-Out, over all other

         administrative expense claims, adequate protection and other diminution claims, priority and

         other unsecured claims, and all other claims against the Debtors or their estates, now existing or

         hereafter arising, of any kind or nature whatsoever, including administrative expenses or other

         claims of the kinds specified in, or ordered pursuant to, sections 105, 326, 328, 330, 331, 503(a),

         503(b), 506(c) (subject to the entry of the Final Order), 507(a), 507(b), 546, 726, 1113, and 1114

         or any other provision of the Bankruptcy Code or otherwise, whether or not such expenses or

         claims may become secured by a judgment Lien or other non-consensual lien, levy, or

         attachment (the “DIP Superpriority Claims”).                  The DIP Superpriority Claims shall, for

         purposes of section 1129(a)(9)(A) of the Bankruptcy Code, be considered administrative

         expenses allowed under section 503(b) of the Bankruptcy Code, shall be against each Debtor on

         a joint and several basis, and shall be payable from and have recourse to all prepetition and

         postpetition property of the Debtors and all proceeds thereof, including, subject to the entry of

         the Final Order, the proceeds of Avoidance Actions.



         4
             Nothing in this Interim Order is or shall be deemed an admission or stipulation by the Debtors as to the
             validation of any Senior Permitted Lien. The Debtors reserve the right to seek to prime the Permitted Liens in
             connection with the Final Order.
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                        8.     Priority of DIP Liens and DIP Superpriority Claims. Other than as set

         forth herein or permitted under this Interim Order, the DIP Term Sheet, or the DIP Documents,

         the DIP Liens and the DIP Superpriority Claims: (a) shall not be subject to sections 510, 549,

         550, or 551 of the Bankruptcy Code or, subject to entry of the Final Order granting such relief,

         section 506(c) of the Bankruptcy Code or the “equities of the case” exception of section 552(b)

         of the Bankruptcy Code; (b) shall not be subordinate to, or pari passu with, (i) any Lien that is

         avoided and preserved for the benefit of the Debtors and their estates under section 551 of the

         Bankruptcy Code or otherwise or (ii) any Liens or claims of any Debtor or any direct or indirect

         subsidiary thereof against any Debtor or any of such Debtor’s property; and (c) shall be valid

         and enforceable against any trustee or any other estate representative elected or appointed in

         these chapter 11 cases, upon the conversion of any of these chapter 11 cases to a case under

         chapter 7 of the Bankruptcy Code or in a Successor Case, and/or upon the dismissal of any of

         these chapter 11 cases.

                        9.     Use of Proceeds of the DIP Facility and Cash Collateral. Subject to the

         Budget as provided for herein, the Debtors shall use Cash Collateral and the proceeds of

         borrowings under the DIP Facility only for the purposes specifically set forth in this Interim

         Order and the DIP Documents, including to (a) pay fees, interest, and expenses associated with

         the DIP Facility; (b) to fund, to the extent that usage of Cash Collateral and available cash are

         not sufficient to cover such expenses, post-petition operating expenses and working capital

         needs of the Debtors, including, but not limited to, those activities required to remain in, or

         return to, compliance with laws in accordance with 28 U.S.C. § 1930; (c) to fund fees and

         expenses incurred in connection with the Restructuring; (d) provide for the ongoing working

         capital and capital expenditure needs of the Debtors during the pendency of these chapter 11


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         cases; (e) to pay permitted pre-petition claim payments authorized by this Court; (f) to pay

         professional fees in connection with these chapter 11 cases; and (g) fund the costs of the

         administration of these chapter 11 cases (including the Carve-Out), in each case subject to the

         terms and conditions in this Interim Order and the DIP Documents.

                        10.    Adequate     Protection   for    the   Prepetition   Secured   Creditors.

         The Prepetition Secured Creditors are entitled, pursuant to sections 361, 362, 363, 364, and 507

         of the Bankruptcy Code, to adequate protection of their respective interests in the applicable

         Prepetition Collateral, including Cash Collateral, to the extent of any Diminution. Accordingly,

         as adequate protection, the Prepetition Secured Creditors are hereby granted the following:

                               a.      Adequate Protection Liens. Subject to the Carve-Out, to the extent

         there is Diminution, the Prepetition Secured Creditors, are hereby granted subject to the terms

         and conditions set forth below, pursuant to sections 361, 363, 364, and 507 of the Bankruptcy

         Code, valid, binding, enforceable and perfected replacement liens on and security interests in the

         DIP Collateral, including, subject to the entry of the Final Order, the proceeds of Avoidance

         Actions (such adequate protection replacement Liens, the “AP Liens”), which AP Liens on the

         DIP Collateral shall be junior and subordinate only to the Carve-Out and the DIP Liens. The AP

         Liens shall otherwise be senior to all other security interests in or liens on any of the DIP

         Collateral. The AP Liens shall be in addition to all valid and enforceable liens and security

         interests now existing in favor of the Prepetition Secured Creditors and not in substitution

         therefor.

                               b.      Prepetition Secured Creditor Adequate Protection Superpriority

         Claims. Subject only to the Carve-Out and the DIP Superpriority Claims, to the extent of

         Diminution, the Prepetition Secured Creditors are hereby further granted an allowed


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         superpriority administrative claim (such adequate protection superpriority claims, the “AP

         Superpriority Claim”), pursuant to section 507(b) of the Bankruptcy Code, with priority over

         all administrative expense claims and priority and other unsecured claims against the Debtors or

         their estates, now existing or hereafter arising, of any kind or nature whatsoever, including

         administrative expenses of the kind specified in or ordered pursuant to sections 105, 326, 328,

         330, 331, 503(a), 503(b), 506(c) (subject to the entry of the Final Order), 507(a), 507(b), 546(c),

         546(d), 726 , 1113, 1114, or any other provision of the Bankruptcy Code or otherwise, junior

         only to the Carve-Out and the DIP Superpriority Claims to the extent provided herein and in the

         DIP Documents, and payable from and having recourse to all prepetition and postpetition

         property of the Prepetition Secured Creditors and all proceeds thereof (including, subject to entry

         of the Final Order granting such relief, all proceeds of Avoidance Actions).

                        11.    Budget.

                               a.      The Debtors shall use the proceeds of all borrowings under the

         DIP Facility and Cash Collateral in a manner consistent with the Budget (subject to the Variance

         Limit (as defined below)), the DIP Term Sheet, DIP Documents, and this Interim Order. The

         Budget annexed hereto as Exhibit 4 shall constitute the initial Budget (the “Initial Budget”) that

         reflects on a line-item basis the Debtors’ (i) weekly projected cash receipts (including from

         non-ordinary course assets sales) (“Receipts”), (ii) weekly projected disbursements (including

         ordinary course operating expenses, bankruptcy-related expenses under these chapter 11 cases

         (including the estimated fees and expenses of the advisors to any parties to these chapter 11

         cases payable by the Debtors), capital expenditures, issuances of any letter of credit, including

         the fees relating thereto, and any other fees and expenses relating to the DIP Facility)

         (“Disbursements”), and (iii) other information reasonably requested by the DIP Lender.


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                                b.     Commencing on November 6, 2023 and on the first business day

         of each month thereafter, the Debtors will provide to the DIP Agent and the DIP Lenders an

         updated thirteen (13)-week cash flow forecast, in a form consistent with the Initial Budget,

         containing line items of sufficient detail to reflect the Debtors’ (i) Receipts; (ii) Disbursements;

         and (iii) other information reasonably requested by the DIP Lender in form and substance

         reasonably satisfactory to the DIP Lenders (such approved budget, including the Initial Budget,

         the “Budget”).

                                c.     By no later than 5:00 p.m. Eastern Time on the Thursday (or, if

         such Thursday is not a business day, the immediately succeeding business day) of the fourth

         week after the Petition Date, and thereafter by not later than 5:00 p.m. Eastern Time on the

         Thursday (or, if such Thursday is not a business day, the immediately succeeding business day)

         of every week thereafter, the Debtors will provide to the DIP Agent and the DIP Lenders a

         variance report for the immediately preceding four-week period (each such period, a “Testing

         Period”), in form and substance reasonably satisfactory to the DIP Agent, detailing the

         following: (i) the aggregate Disbursements of the Debtors and aggregate receipts during the

         applicable Testing Period; (ii) any variance (whether positive or negative, expressed as a

         percentage) between the aggregate Disbursements made during such Testing Period by the

         Debtors against the aggregate Disbursements for the Testing Period, as set forth in the applicable

         Budget (including Disbursements in respect of professional fees incurred in these

         chapter 11 cases by the Debtors during such Testing Period); and (iii) any variance (whether

         positive or negative, expressed as a percentage) between the aggregate receipts during such

         Testing Period by the Debtors against the aggregate receipts for the Testing Period, as set forth

         in the applicable Budget. Starting with the first Testing Period, and for any Testing Period


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         thereafter: (i) the Debtors shall not allow the aggregate Disbursements (excluding Disbursements

         in respect of professional fees incurred in these chapter 11 cases by the Debtors during such

         Testing Period) made or incurred by the Debtors during such Testing Period to be greater than

         [30]% of the aggregate Disbursements for the Debtors set forth in the Budget for such Testing

         Period; and (ii) aggregate receipts shall not be less than [30]% of the aggregate receipts for the

         Debtors set forth in the Budget for such Testing Period ((i) and (ii) together, the “Variance

         Limit”).

                        12.     Modification of Automatic Stay.       The automatic stay imposed under

         section 362(a)(2) of the Bankruptcy Code is hereby modified as necessary to effectuate all of the

         terms and provisions of this Interim Order, including, without limitation, to: (a) permit the

         Debtors to grant the DIP Liens, AP Liens, DIP Superpriority Claims, and AP Superpriority

         Claims; (b) permit the Debtors to perform such acts as the DIP Agent or the Prepetition Secured

         Creditors each may reasonably request to assure the perfection and priority of the liens granted

         herein; (c) permit the Debtors to incur all liabilities and obligations to the DIP Agent under the

         DIP Documents, the DIP Facility and this Interim Order, as applicable; (d) authorize the Debtors

         to pay, and the DIP Agent to retain, disburse and/or apply, payments made in accordance with

         the terms of this Interim Order; and (e) otherwise to the extent necessary to implement and

         effectuate the provisions of this Interim Order and the DIP Documents.

                        13.     Automatic Perfection of DIP Liens and Adequate Protection Liens.

                                a.     This Interim Order shall be sufficient and conclusive evidence of

         the validity, enforceability, perfection, and priority of the DIP Liens and the AP Liens without

         the necessity of (i) filing or recording any financing statement, deed of trust, mortgage, security

         agreement, pledge agreement, control agreement, or other instrument or document that may


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         otherwise be required under the law of any jurisdiction, obtaining “control” (as defined in any

         applicable Uniform Commercial Code or other law) over any DIP Collateral, and the DIP Agent,

         shall be deemed, without any further action, to have control over all the Debtors’ deposit

         accounts, securities accounts, and commodities accounts (within the meaning of such Uniform

         Commercial Code and other law); (ii) taking any other action to validate or perfect the DIP Liens

         and the AP Liens or to entitle the DIP Liens and the AP Liens to the priorities granted herein; or

         (iii) the filing or recording any financing statement, deed of trust, mortgage, security agreement,

         pledge agreement, control agreement, or other instrument or document with respect to security

         interests in any jurisdiction outside of the United States in assets located in, titled or arising or

         protected under the laws of a jurisdiction outside of the United States.

                                b.      Notwithstanding the foregoing, each of the DIP Agent and the

         Prepetition Secured Creditors may, each in their sole discretion, enter into and file, as applicable,

         financing statements, mortgages, security agreements, notices of liens, and other similar

         documents, and is hereby granted relief from the automatic stay of section 362 of the Bankruptcy

         Code in order to do so, and all such financing statements, mortgages, security agreements,

         notices, and other agreements or documents shall be deemed to have been entered into, filed, or

         recorded as of the Petition Date. Without limiting the foregoing, each of the DIP Agent’s and

         the Prepetition Secured Creditors (in the latter case, solely with respect to such AP Liens) may,

         in their discretion, file a photocopy of this Interim Order as a financing statement with any

         recording officer designated to file financing statements or with any registry of deeds or similar

         office in any jurisdiction (whether or not located in the United States) in which any Debtor has

         real or personal property.




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                          14.     Event of Default. In addition to any events of default under the DIP

         Documents, the following shall constitute Events of Default under the DIP Facility (each

         an “Event of Default”):

                                  a.        Conversion of any of these chapter 11 cases to a case under
                                            Chapter 7 of the Bankruptcy Code;

                                  b.        Dismissal of any of these chapter 11 cases;

                                  c.        Appointment of a trustee under section 1104 of the Bankruptcy
                                            Code;

                                  d.        Appointment of an examiner with expanded or enlarged powers
                                            (powers beyond those set forth in Section 1106(a)(3) and (4) of the
                                            Bankruptcy Code) under 1106(b) of the Bankruptcy Code;

                                  e.        Failure by the Debtors to make any payment under the DIP
                                            Facility when due;

                                  f.        A Budget variance shall exceed the Variance Limit;

                                  g.        Failure by the Debtors to comply with its obligations hereunder or
                                            under the DIP Documents; and

                                  h.        Failure to comply with a Milestone (as defined in the DIP Term
                                            Sheet).

                          15.     Credit Bidding. In connection with any sale process authorized by this

         Court, whether effectuated through sections 363, 725, or 1123 of the Bankruptcy Code or

         included    as    part        of   any   restructuring    plan   subject   to    confirmation   under

         section 1129(b)(2)(A)(ii)-(iii) of the Bankruptcy Code, subject to and upon entry of this Interim

         Order, the DIP Agent (at the direction of the DIP Lender), for the benefit of the DIP Lender,

         shall have the right to credit bid the full amount of the DIP Obligations. Nothing herein shall

         prejudice the rights of any party under section 363(k) of the Bankruptcy Code.

                          16. Milestones. The Milestones contained in the DIP Term Sheet are hereby

         approved.


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                        16.    17. Rights and Remedies Upon Event of Default. Without requiring

         further order from this Court and without the need for filing any motion (except as expressly

         required by this paragraph 17) for relief from the automatic stay or any other pleading,

         immediately upon the occurrence of an Event of Default and following five (5) business days’

         written notice (the “Notice Period”) by the DIP Agent to the Debtors, counsel to the Debtors,

         counsel to any Creditors’ Committee and the United States Trustee (collectively, the “Notice

         Parties”) of the occurrence of such Event of Default, subject to an ability to cure, if such Event

         of Default is capable of being cured, during the Notice Period, to permit the DIP Agent and the

         DIP Lenders to take any and all actions and remedies to proceed against, take possession of,

         protect and realize upon the DIP Collateral and any other property of the estate of any Debtor

         upon which the DIP Agent or any DIP Lender has been or may hereafter be granted liens and

         security interests to obtain repayment of the DIP Obligations to the DIP Lenders, including the

         termination of the DIP Facility and termination of the Debtors’ right to use Cash Collateral

         hereunder; provided, that such notice by the DIP Agent shall not prejudice the rights of the

         Notice Parties to file a motion during the Notice Period (the “Opposition Motion”) with this

         Court opposing the occurrence of an Event of Default; provided, further, that upon the filing of

         such motion the DIP Agent and the DIP Lenders shall be stayed from taking any actions or

         remedies against the DIP Collateral until this Court hears and disposes of such motion. During

         the Notice Period and during the period following the filing of an Opposition Motion, the

         Debtors may not draw under the DIP Facility but may use Cash Collateral to pay the following

         amounts and expenses in accordance with the Budget: (a) expenses that the Debtors have

         determined in good faith are in the ordinary course and critical to the preservation of the Debtors




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         and their estates, and (b) such other amounts as have been approved in advance in writing by the

         DIP Lender.

                           17.    18. Carve-Out.

                                  a.      The DIP Liens, AP Liens, Prepetition Liens, and the DIP

             Superpriority Claims and the AP Superpriority Claims, shall be subject to a carve-out

             (the “Carve-Out”) for the following, and in the following priority (i) all fees (and interest)

             required to be paid to the Clerk of the Bankruptcy Court and to the United States Trustee;

             (ii) subject to any applicable restrictions in this Interim Order, the amount of allowed and

             unpaid fees, costs, and expenses of the estate’s court-approved professionals in the Case

             incurred from and after the occurrence of an Event of Default, in an aggregate amount not to

             exceed (1) $250,000 in the case of the Debtor’s court-approved professionals and (2) $75,000 in

             the case of court-approved professionals retained by any Creditors’ Committee; and (iii) subject

             to any applicable restrictions in this Interim Order, the amount of allowed and unpaid fees,

             costs, and expenses of the estate’s court-approved professionals in these chapter 11 cases

             incurred prior to the occurrence of an Event of Default, not to exceed the amounts set forth in

             applicable lines of the Budget as of any applicable date of determination; provided that in no

             event shall the DIP Lenders be obligated to loan funds to pay any claims benefiting from the

             Carve Out (or to advance any funds following a Carve-Out Event), including to the extent that

             such amounts would, when combined with the amounts advanced under the DIP Facility,

             exceed the maximum principal amount of commitments under the DIP Facility.

                                  b.      Upon the occurrence and continuance (beyond any applicable

             grace period) of an Event of Default (as defined herein or in the DIP Documents), the right of

             the Debtors to pay fees and expenses of professionals retained by order of the Bankruptcy Court


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             shall immediately terminate (a “Carve-Out Event”), other than to satisfy the Carve Out, and

             upon such occurrence, the Debtors shall provide immediate notice by facsimile and e-mail to all

             professionals informing them that a Carve-Out Event has occurred and further advising them

             that the Debtors’ ability to pay estate professionals is subject to the Carve-Out as provided

             herein.

                                  c.     Notwithstanding anything herein to the contrary, prior to a

             Carve-Out Event, the Debtors shall, in accordance with the Budget and the terms of the DIP

             Documents and subject to the terms of this Interim Order and any other relevant orders of the

             Bankruptcy Court, be permitted to pay compensation and reimbursement of expenses to

             professionals allowed and payable under sections 330 and 331 of the Bankruptcy Code and such

             orders of the Bankruptcy Court authorizing the payment of compensation and reimbursement of

             expenses that have been incurred prior to the occurrence of such Carve-Out Event.

                                  d.     Nothing herein or in the DIP Documents shall constitute a cap on

         the amount of professional fees and expenses that may be incurred or allowed in these

         chapter 11 cases; provided that no payments of such fees and expenses shall be made in excess

         of the amounts contained within or inconsistent with the Budget.

                          20.     Limitations on Use of DIP Proceeds, Cash Collateral, and Carve-Out. No

         proceeds of the DIP Facility, the Carve-Out, or any Cash Collateral may be used by the Debtors

         or any other party in interest, or their representatives, to (or support any other party to)

         (a) investigate or finance any investigation (including discovery proceedings), initiation or

         prosecution of any adversary action, suit, arbitration, proceeding, application, motion or other

         litigation of any type adverse to the DIP Agent or the DIP Lenders, or their respective rights and

         remedies under or in respect of the DIP Facility, (b) in connection with challenging, invalidating,


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         disallowing, recharacterizing, setting aside, avoiding, subordinating (other than to the

         Carve-Out), in whole or in part, or taking or attempting to take any other action to render

         unenforceable, the liens, claims, interests and adequate protection of the DIP Agent and the DIP

         Lenders, including for the avoidance of doubt, objecting to or contesting the validity, extent,

         amount, perfection, priority, or enforceability of the obligations under the DIP Facility or the

         DIP Liens, (c) for any purpose that is prohibited under the Bankruptcy Code, the Interim Order,

         the Final Order, or the DIP Documents, or (d) seek approval of any superpriority claims or grant

         any lien that is senior to or pari passu with the DIP Liens or DIP Superpriority Claims, except as

         contemplated by the DIP Term Sheet, this Interim Order or any DIP Document; provided,

         however, that the Debtors shall not be precluded from using Cash Collateral and/or proceeds

         from DIP Loans to contest whether an Event of Default has occurred and is continuing under the

         DIP Documents, and/or prepare for and participate at any hearing held by the Bankruptcy Court

         regarding any exercise of rights or remedies under the DIP Documents; provided, further, that up

         to $10,000 shall be made available to any Creditors’ Committee to investigate (but not object to

         or commence an action or proceeding with respect to) the Prepetition Senior Secured Notes

         Obligations and the Prepetition Liens. No portion of such amount may be used to prosecute or

         support any claims.

                        21.    Good Faith Under Sections 363(m) and 364(e) of the Bankruptcy Code;

         No Modification or Stay of this Interim Order. Based on the findings set forth in this Interim

         Order and the record made during the Interim Hearing, and in accordance with sections 363(m)

         or 364(e) of the Bankruptcy Code, as applicable, in the event any or all of the provisions of this

         Interim Order are hereafter modified, amended, waived, or vacated by a subsequent order of this

         Court or any other court of competent jurisdiction, each of the DIP Agent, the DIP Lenders and


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         the Prepetition Secured Creditors are entitled to the full protections provided in sections 363(m)

         and 364(e) of the Bankruptcy Code, as applicable. Any such modification, amendment, waiver

         or vacatur shall not affect the validity and enforceability of any advances previously made,

         including advances made hereunder, or any priority or lien, claim, or priority authorized or

         created hereby granted, including liens granted hereunder, unless such authorization and the

         incurring of such debtthe advances made, or the granting of suchthe priority or lien, is stayed

         pending appeal.

                        22.     Payment of Fees and Expenses. In addition to any fees payable under the

         DIP Term Sheet, the Bridge Documentation or the DIP Documents, the Debtors shall pay all

         reasonable and documented fees and out-of-pocket expenses of the DIP Agent and the DIP

         Lenders, whether incurred before or after the Petition Date or in connection with these chapter

         11 cases, the DIP Facility or the Bridge Facility, including the reasonable and documented

         out-of-pocket expenses of legal counsel to the DIP Agent and each DIP Lender and a financial

         advisor to the DIP Agent (the “DIP Professional Fees”); provided however, that the Debtors

         may defer the payment of any such fees and expenses if and to the extent liquidity constraints so

         dictate in the Debtors’ reasonable judgment. The DIP Professionals shall not be required to file

         motions or applications with respect to the DIP Professional Fees, provided, however, that any

         time such professionals seek payment of fees and expenses from the Debtors, each professional

         shall provide summary copies of its fee and expense statements or invoices (which shall not be

         required to contain time entries and which may be redacted or modified to the extent necessary

         to delete any information subject to the attorney-client privilege, any information constituting

         attorney work product, or any other confidential information, and the provision of such invoices

         shall not constitute any waiver of the attorney-client privilege or of any benefits of the attorney


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         work-product doctrine) by electronic mail to the U.S. Trustee and counsel to any Creditors’

         Committee contemporaneously with the delivery of such fee and expense statements to the

         Debtors. The Debtors, any Creditors’ Committee, or the U.S. Trustee may dispute the payment

         of any portion of such invoiced fees and expenses (the “Disputed Invoiced Fees”) if the

         Debtors, any Creditors’ Committee, or the U.S. Trustee notifies the submitting party in writing,

         within fivefourteen (514) days of the receipt of such fee and expense statement or invoice,

         setting forth the specific objections to the Disputed Invoiced Fees (to be followed by the filing

         with this Court, if necessary, of a motion or other pleading, with at least ten (10) days prior

         written notice to the submitting party of any hearing on such motion or other pleading). The

         Debtors shall promptly pay in full all such invoiced fees and expenses other than the Disputed

         Invoiced Fees.

                          23.   Release of DIP Agent and DIP Lenders. Subject to entry of the Final

         Order, each Debtor shall forever waive, discharge, and release each of the DIP Agent and the

         DIP Lenders and their respective affiliates and representatives, in each case, solely in such

         capacity (all of the foregoing, collectively, the “DIP Secured Party Releasees”) from any and

         all obligations and liabilities to the Debtors (and their permitted successors and assigns) and

         from any and all “claims” (as defined in section 101(5) of the Bankruptcy Code), counterclaims,

         causes of action (including causes of action in the nature of “lender liability”), defenses, setoff,

         recoupment, other offset rights, and other rights of disgorgement or recovery against any and all

         of the DIP Secured Party Releasees, whether arising at law or in equity, relating to and/or

         otherwise in connection with the DIP Obligations, the DIP Liens, or the debtor–creditor

         relationship between any of the DIP Lenders, in such capacity, on the one hand, and any of the

         Debtors, on the other hand, including (a) any recharacterization, subordination, avoidance,


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         disallowance, or other claim arising under or pursuant to section 105 or chapter 5 of the

         Bankruptcy Code or under any other similar provisions of applicable state law, federal law,

         municipal law, or foreign law and (b) any right or basis to challenge or object to the amount,

         validity, or enforceability of the DIP Obligations or any payments or other transfers made on

         account of the DIP Obligations, or the validity, enforceability, priority, or non-avoidability of the

         DIP Liens securing the DIP Obligations, including any right or basis to seek any disgorgement

         or recovery of payments of cash or any other distributions or transfers previously received by

         any of the DIP Secured Party Releasees. Notwithstanding the foregoing, none of the C5

         Lenders, in their capacity as a Prepetition Secured Creditor, shall be released pursuant to the

         foregoing.

                        24.     Effect of Stipulations on Third Parties. The stipulations set forth in

         paragraph F of this Interim Order shall be binding upon the Debtors upon entry of this Interim

         Order. In addition, such stipulations shall be binding upon each other party in interest, including

         any Creditors’ Committee unless a party in interest having standing, first, commences, within

         seventy-five (75) calendar days following the date of entry of this Interim Order (the “Challenge

         Period,” and the date that is the next calendar day after the termination of the Challenge Period

         in the event that either (a) no Challenge (as defined below) is properly raised during the

         Challenge Period or (b) with respect only to those parties who properly and timely file a

         Challenge and only for the matters specifically set forth in such Challenge, such Challenge is

         fully and finally adjudicated, shall be referred to as the “Challenge Period Termination Date”),

         (i) a contested matter, adversary proceeding, or other action or claim (as defined in the

         Bankruptcy Code) challenging or otherwise objecting to the stipulations set forth in paragraph F

         of this Interim Order or (ii) a contested matter, adversary proceeding, or other action or claim (as


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         defined in the Bankruptcy Code) against any Prepetition Secured Creditor relating to any

         pre-Petition Date act, omission or aspect of the relationship between such Prepetition Secured

         Creditor and the Debtors ((i) and (ii) being, collectively, the “Challenges,” and each

         individually, a “Challenge”), and, second, obtains a final, non-appealable order in favor of such

         party in interest sustaining any such Challenge in any such timely-filed contested matter,

         adversary proceeding or other action. The filing of a motion seeking standing to file a Challenge

         Action before the Challenge Period, which attaches a proposed Challenge Action, shall extend

         the Challenge Period with respect to that party until two business days after the Court approves

         the standing motion, or such other time period ordered by the Court in approving the standing

         motion. Upon the Challenge Period Termination Date and for all purposes in these chapter 11

         cases and any Successor Case(s), (1) any and all such Challenges by any party in interest shall be

         deemed to be forever released, waived and barred and (2) the stipulations contained in paragraph

         F of this Interim Order shall be binding on all parties in interest, including any Creditors’

         Committee.

                        25.     No Third-Party Rights. Except as explicitly provided for herein, this

         Interim Order does not create any rights for the benefit of any third party, creditor, equity holder,

         or any direct, indirect, or incidental beneficiary.

                        26.     Section 506(c) Claims. Except to the extent of the Carve-Out, upon entry

         of the Final Order, the Debtors shall irrevocably waive and be prohibited from asserting any

         claim under section 506(c) of the Bankruptcy Code, and no costs or expenses of administration

         of these chapter 11 cases or any future proceeding that may result therefrom, including

         liquidation in bankruptcy or other proceedings under the Bankruptcy Code shall be charged




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         against or recovered from the DIP Collateral or the Prepetition Collateral pursuant to

         section 506(c) of the Bankruptcy Code or any similar principle of law.

                        27.     No Marshaling. Subject to entry of a Final Order, the DIP Lenders (and

         after payment in full of the DIP Obligations, the Prepetition Secured Creditors) shall not be

         subject to the equitable doctrine of “marshaling” or any other similar doctrine with respect to any

         of the DIP Collateral or the Prepetition Collateral. Without limiting the generality of the

         immediately preceding sentence, from and after the entry of the Final Order, no party (other than

         the DIP Lenders and after payment in full of the DIP Obligations, the Prepetition Secured

         Creditors) shall be entitled, directly or indirectly, to direct the exercise of remedies or seek

         (whether by order of this Court or otherwise) to marshal or otherwise control the disposition of

         the DIP Collateral or the Prepetition Collateral (as applicable) after an Event of Default under

         the DIP Documents.

                        28.     Section 552(b). Upon entry of the Final Order, the DIP Agent, the DIP

         Lenders and the Prepetition Secured Creditors shall be entitled to all of the rights and benefits of

         section 552(b) of the Bankruptcy Code, and the “equities of the case” exception thereunder shall

         not apply.

                        29.     Binding Effect of Interim Order. The provisions of this Interim Order

         shall be binding upon and inure to the benefit of the Debtors, the DIP Agent, the DIP Lenders,

         the Prepetition Secured Creditors, any Creditors’ Committee, all other creditors of any of the

         Debtors and all other parties in interest and, in each case, their respective successors and assigns

         (including any chapter 7 or chapter 11 trustee hereinafter appointed or elected for the estate of

         the Debtors, an examiner appointed pursuant to section 1104 of the Bankruptcy Code or any

         other fiduciary appointed as a legal representative of any of the Debtors or with respect to the


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         property of the estate of any of the Debtors). To the extent permitted by applicable law, this

         Interim Order shall bind any trustee or administrator (whether under U.S. law or the laws of any

         other jurisdiction) hereafter appointed for the estate of any of the Debtors, whether in these

         chapter 11 cases or in the event of the conversion of any of these chapter 11 cases, any Successor

         Cases, or upon dismissal of any Chapter 11 Case or Successor Case, to a liquidation under

         chapter 7 of the Bankruptcy Code. Such binding effect is an integral part of this Interim Order.

                        30.     No Modification of Interim Order. Until the DIP Obligations and the AP

         Superpriority Claims have been paid in full, the Debtors shall be prohibited from seeking or

         consenting to, directly or indirectly, any modification, stay, vacatur, waiver, or amendment to

         this Interim Order or any provision hereof without the prior written consent of the DIP Agent

         and each DIP Lender, and no such consent shall be implied by any action or inaction of the DIP

         Agent or any DIP Lender.

                        31.     Interim Order Controls. In the event of any inconsistency between the

         terms and conditions of the DIP Term Sheet, any DIP Documents and this Interim Order, the

         provisions of this Interim Order shall control.

                        32.     Survival. The terms and provisions of this Interim Order, including the

         claims, liens, security interests, and other protections granted to the DIP Agent, the DIP Lenders

         and the Prepetition Secured Creditors pursuant to this either or both this Interim Order and the

         DIP Term Sheet, notwithstanding the entry of any such order, shall continue in these

         chapter 11 cases, or following dismissal of these chapter 11 cases, and shall maintain their

         priority as provided by this Interim Order until all the DIP Obligations and AP Superpriority

         Claims, pursuant to the DIP Documents and/or this Interim Order, have been indefeasibly paid in

         full (such payment being without prejudice to any terms or provisions contained in the DIP


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         Facility that survive such discharge by their terms), and all commitments to extend credit under

         the DIP Facility are terminated.

                        33.     Final Hearing. The Final Hearing on the Motion pursuant to Bankruptcy

         Rule 4001(c)(2) will be held on November [*]14, 2023, at [*] .m1:00 p.m., prevailing Eastern

         Time. The Debtors shall promptly mail copies of this Interim Order to the notice parties set forth

         in the DIP Motion, and to any other party that has filed a request for notices with this Court and

         to any Creditors’ Committee after same has been appointed, or the Creditors’ Committee’s

         counsel if same shall have filed a request for notice. Any party in interest objecting to the relief

         sought at the Final Hearing shall serve and file written objections, which objections shall be

         served upon (i) counsel to the Debtors, Young Conaway Stargatt & Taylor, LLP, Rodney

         Square, 1000 North King Street, Wilmington, DE 19801, Attn: Sean M. Beach and Kenneth J.

         Enos (sbeach@ycst.com and kenos@ycst.com); (ii) the Office of the United States Trustee for

         the District of Delaware, J. Caleb Boggs Building, 844 King Street, Suite 2207, Lockbox 35,

         Wilmington, DE 19801, Attn: Timothy J. Fox (Timothy.Fox@usdoj.gov); and (iii) the DIP

         Agent; and (iv) counsel to certain of the DIP Lenders, Paul, Weiss, Rifkind, Wharton & Garrison

         LLP, 1285 Avenue of the Americas, New York, New York 10019, Attn: Sean Mitchell

         (smitchell@paulweiss.com) and Diane Meyers (dmeyers@paulweiss.com) and shall be filed

         with the Clerk of the Court, in each case, to allow actual receipt of the foregoing no later than

         4:00 p.m. (prevailing Eastern Time), on November [*]7, 2023.

                        34.     Retention of Jurisdiction. This Court has and will retain jurisdiction to

         enforce this Interim Order according to its terms.




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                                                                         EXECUTION VERSION


                                  SECURITY AGREEMENT

         This Security Agreement, dated as of October 10, 2023 (“Security Agreement”), is
made by and among IronNet, Inc., a Delaware corporation (“Parent”), IronNet Cybersecurity,
Inc., a Delaware corporation (“IronNet Cybersecurity”), IronNet International, LLC, a
Delaware limited liability company (“IronNet International”), IronCAD LLC, a Delaware
limited liability company (“IronCAD”), HighDegree, LLC, a Delaware limited
liability company (“HighDegree”; and together with Parent, IronNet Cybersecurity,
IronNet International and IronCAD, the “Grantors” and each, a “Grantor”), and Ferrous
Investors LP (the “Secured Party”).

                                             Recitals

       WHEREAS, reference is made to that certain Senior Secured Promissory Note, dated as
of October 10, 2023 (as amended, restated, amended and restated, supplemented or
otherwise modified from time to time, the “Existing Note”; and together with each Additional
Note, the “Notes”, and each, a “Note”), issued by the Grantors, as co-borrowers, in favor of
the Secured Party in the aggregate principal amount of $1,500,000; and

        WHEREAS, the Secured Party has made or has agreed to make certain advances of money
and to extend certain financial accommodations to the Grantors subject to the terms and conditions
set forth in the applicable Note, and the obligations of the Secured Party to extend such credit are
conditioned upon, among other things, the execution and delivery of this Security Agreement.

       NOW, THEREFORE, the parties hereto agree as follows.

       1.      Defined Terms. When used in this Security Agreement the following terms shall
have the meanings set forth below (such meanings being equally applicable to both the singular
and plural forms of the terms defined). Any term used in the UCC and not defined herein shall
have the meaning given to such term in the UCC.

       “Additional Note” shall have the meaning assigned to such term in Section 12.6 of this
Security Agreement.

       “Bankruptcy Code” means Title XI of the United States Code.

      “Collateral” shall have the meaning assigned to such term in Section 2 of this Security
Agreement.

        “Contracts” means all contracts (including any customer, vendor, supplier, service or
maintenance contract), personal property leases, licenses, undertakings, purchase orders, permits,
franchise agreements or other agreements (other than any right evidenced by Chattel Paper,
Documents or Instruments), whether in written or electronic form, in or under which any Grantor
now holds or hereafter acquires any right, title or interest, including, without limitation, with
respect to an Account, any agreement relating to the terms of payment or the terms of performance
thereof.
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       “Copyright License” means any agreement, whether in written or electronic form, in which
any Grantor now holds or hereafter acquires any interest, granting any right in or to any Copyright
or Copyright registration (whether any Grantor is the licensee or the licensor thereunder) including,
without limitation, licenses pursuant to which any Grantor has obtained the exclusive right to use
a copyright owned by a third party.

        “Copyrights” means all of the following now owned or hereafter acquired or created (as a
work for hire for the benefit of any Grantor) by any Grantor or in which any Grantor now holds or
hereafter acquires or receives any right or interest, in whole or in part: (a) all copyrights, whether
registered or unregistered, held pursuant to the laws of the United States, any State thereof or any
other country; (b) registrations, applications, recordings and proceedings in the United States
Copyright Office or in any similar office or agency of the United States, any State thereof or any
other country; (c) any continuations, renewals or extensions thereof; (d) any registrations to be
issued in any pending applications, and shall include any right or interest in and to work protectable
by any of the foregoing which are presently or in the future owned, created or authorized (as a
work for hire for the benefit of any Grantor) or acquired by any Grantor, in whole or in part; (e)
prior versions of works covered by copyright and all works based upon, derived from or
incorporating such works; (f) income, royalties, damages, claims and payments now and hereafter
due and/or payable with respect to copyrights, including, without limitation, damages, claims and
recoveries for past, present or future infringement; (g) rights to sue for past, present and future
infringements of any copyright; and (h) any other rights corresponding to any of the foregoing
rights throughout the world.

       “Event of Default” means any “Event of Default” as defined in the Notes.

        “Intellectual Property” means any intellectual property, in any medium, of any kind or
nature whatsoever, now or hereafter owned or acquired or received by any Grantor or in which
any Grantor now holds or hereafter acquires or receives any right or interest, and shall include, in
any event, any Copyright, Trademark, Patent, License, trade secret, customer list, marketing plan,
internet domain name (including any right related to the registration thereof), proprietary or
confidential information, mask work, source, object or other programming code, invention
(whether or not patented or patentable), technical information, procedure, design, knowledge,
know-how, software, data base, data, skill, expertise, recipe, experience, process, model, drawing,
material or record.

        “License” means any Copyright License, Patent License, Trademark License or other
license of rights or interests, whether in-bound or out-bound, whether in written or electronic form,
now or hereafter owned or acquired or received by any Grantor or in which any Grantor now holds
or hereafter acquires or receives any right or interest, and shall include any renewals or extensions
of any of the foregoing thereof.

      “Lien” means any mortgage, lien, deed of trust, charge, pledge, security interest or other
encumbrance.

       “Loans” means advances, future advances, and financial accommodations provided
pursuant to the Notes.




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       “Patent License” means any agreement, whether in written or electronic form, in which
any Grantor now holds or hereafter acquires any interest, granting any right with respect to any
invention on which a Patent is in existence (whether any Grantor is the licensee or the licensor
thereunder).

        “Patents” means all of the following in which any Grantor now holds or hereafter acquires
any interest: (a) all letters patent of the United States or any other country, all registrations and
recordings thereof and all applications for letters patent of the United States or any other country,
including, without limitation, registrations, recordings and applications in the United States Patent
and Trademark Office or in any similar office or agency of the United States, any State thereof or
any other country; (b) all reissues, divisions, continuations, renewals, continuations-in-part or
extensions thereof; (c) all petty patents, divisionals and patents of addition; (d) all patents to issue
in any such applications; (e) income, royalties, damages, claims and payments now and hereafter
due and/or payable with respect to patents, including, without limitation, damages, claims and
recoveries for past, present or future infringement; and (f) rights to sue for past, present and future
infringements of any patent.

        “Permitted Lien” means: (a) any Liens existing on the date of this Security Agreement and
set forth on Schedule A attached hereto; (b) Liens for taxes, fees, assessments or other
governmental charges or levies, either not delinquent or being contested in good faith by
appropriate proceedings; (c) Liens (i) upon or in any Equipment acquired or held by any Grantor
to secure the purchase price of such Equipment or indebtedness (including capital leases) incurred
solely for the purpose of financing the acquisition of such Equipment or (ii) existing on such
Equipment at the time of its acquisition, provided that the Lien is confined solely to the Equipment
so acquired, improvements thereon and the Proceeds of such Equipment; (d) leases or subleases
and licenses or sublicenses granted to others in the ordinary course of any Grantor’s business; (e)
any right, title or interest of a licensor under a license; (f) Liens arising from judgments, decrees
or attachments to the extent and only so long as such judgment, decree or attachment has not
caused or resulted in an Event of Default; (g) easements, reservations, rights-of-way, restrictions,
minor defects or irregularities in title and other similar Liens affecting real property not interfering
in any material respect with the ordinary conduct of the business of any Grantor; (h) Liens in favor
of customs and revenue authorities arising as a matter of law to secure payment of customs duties
in connection with the importation of goods; (i) Liens arising solely by virtue of any statutory or
common law provision relating to banker’s liens, rights of setoff or similar rights and remedies as
to deposit accounts or other funds maintained with a creditor depository institution; (j) Liens in
favor of a depository bank or a securities intermediary pursuant to such depository bank’s or
securities intermediary’s customary customer account agreement; provided that any such Liens
shall at no time secure any indebtedness or obligations other than customary fees and charges
payable to such depository bank or securities intermediary; (k) statutory or common law Liens of
landlords and carriers, warehousemen, mechanics, suppliers, materialmen, repairmen and other
similar Liens, arising in the ordinary course of business and securing obligations that are not yet
delinquent or are being contested in good faith by appropriate proceedings; (l) Liens incurred or
deposits made to secure the performance of tenders, bids, leases, statutory or regulatory
obligations, surety and appeal bonds, government contracts, performance and return-of-money
bonds, and other obligations of like nature, in each case, in the ordinary course of business; (m)
Liens incurred or deposits made in the ordinary course of business in connection with workers’
compensation, unemployment insurance and other types of social security; (n) pledges and


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deposits securing liability for reimbursement or indemnification obligations in respect of letters of
credit or bank guarantees for the benefit of landlords; (o) Liens securing subordinated debt
(provided such Liens are subordinated to Secured Party’s security interest on terms acceptable to
Secured Party); and (p) Liens incurred in connection with the extension, renewal or refinancing of
indebtedness secured by Liens permitted under the preceding clauses, provided that any extension,
renewal or replacement Lien shall be limited to the property encumbered by the existing Lien and
the principal amount of the indebtedness being extended, renewed or refinanced does not increase.

        “Secured Obligations” means the obligation of each Grantor to repay the Secured Party all
of the unpaid principal amount of, and accrued interest on (including any interest that accrues after
the commencement of bankruptcy), the Loans.

      “Security Agreement” means this Security Agreement and all Schedules hereto, as the
same may from time to time be amended, modified, supplemented or restated.

       “Trademark License” means any agreement, whether in written or electronic form, in
which any Grantor now holds or hereafter acquires any interest, granting any right in and to any
Trademark or Trademark registration (whether any Grantor is the licensee or the licensor
thereunder).

        “Trademarks” means any of the following in which any Grantor now holds or hereafter
acquires any interest: (a) any trademarks, tradenames, corporate names, company names, business
names, trade styles, service marks, logos, other source or business identifiers, prints and labels on
which any of the foregoing have appeared or appear, designs and general intangibles of like nature,
now existing or hereafter adopted or acquired, all registrations and recordings thereof and any
applications in connection therewith, including, without limitation, registrations, recordings and
applications in the United States Patent and Trademark Office or in any similar office or agency
of the United States, any State thereof or any other country (collectively, the “Marks”); (b) any
reissues, extensions or renewals thereof; (c) the goodwill of the business symbolized by or
associated with the Marks; (d) income, royalties, damages, claims and payments now and hereafter
due and/or payable with respect to the Marks, including, without limitation, damages, claims and
recoveries for past, present or future infringement; and (e) rights to sue for past, present and future
infringements of the Marks.

         “UCC” means the Uniform Commercial Code as the same may from time to time be in
effect in the State of New York (and each reference in this Security Agreement to an Article thereof
(denoted as a Division of the UCC as adopted and in effect in the State of New York) shall refer
to that

        Article (or Division, as applicable) as from time to time in effect); provided, however, in
the event that, by reason of mandatory provisions of law, any or all of the attachment, perfection
or priority of the Secured Party’s security interest in any Collateral is governed by the Uniform
Commercial Code as in effect in a jurisdiction other than the State of New York, the term “UCC”
shall mean the Uniform Commercial Code (including the Articles thereof) as in effect at such time
in such other jurisdiction for purposes of the provisions hereof relating to such attachment,
perfection or priority and for purposes of definitions related to such provisions.




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        2.       Grant of Security Interest. As collateral security for the full, prompt, complete
and final payment and performance when due (whether at stated maturity, by acceleration or
otherwise) of all the Secured Obligations and in order to induce the Secured Party to cause the
Loans to be made, each Grantor hereby collaterally assigns, conveys, mortgages, pledges,
hypothecates and transfers to the Secured Party, and hereby grants to the Secured Party, a security
interest in all of such Grantor’s right, title and interest in, to and under the following, whether now
owned or hereafter acquired (all of which being collectively referred to herein as the “Collateral”):

               (a)     All Accounts;

               (b)     All Chattel Paper;

               (c)     All Commercial Tort Claims;

               (d)     All Commodity Accounts;

               (e)     All Contracts;

               (f)     All Deposit Accounts;

               (g)     All Documents;

               (h)     All General Intangibles, including Intellectual Property;

               (i)     All Goods, including, without limitation, Equipment, Inventory, and
Fixtures;

               (j)     All Instruments, including, without limitation, Promissory Notes;

               (k)     All Investment Property;

               (l)     All Letter-of-Credit Rights and Letters of Credit;

               (m)     All Money;

               (n)     All Securities Accounts;

               (o)     All Supporting Obligations;

                (p)    All personal property of such Grantor held by the Secured Party, or any
other party for whom the Secured Party is acting as agent, including, without limitation, all
property of every description now or hereafter in the possession or custody of or in transit to the
Secured Party or such other party for any purpose, including, without limitation, safekeeping,
collection or pledge, for the account of such Grantor, or as to which such Grantor may have any
right or power;

                (q)   All other goods and personal property, wherever located, whether tangible
or intangible, and whether now owned or hereafter acquired, existing, leased or consigned by or
to such Grantor; and


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               (r)      To the extent not otherwise included, all Proceeds of each of the foregoing
and all accessions to, substitutions and replacements for and rents, profits and products of each
of the foregoing.

        Notwithstanding the foregoing provisions of this Section 2, the grant, assignment and
transfer of a security interest as provided herein shall not extend to, and the term “Collateral” shall
not include: any real property, assets of and equity interests in any person to the extent a security
interest is not permitted to be granted by the terms of such person’s organizational documents or
joint venture documents as long as any such limitation was not created in contemplation of this
Security Agreement, any intent-to-use trademark application prior to the filing with and acceptance
by the United States Patent and Trademark Office of a “Statement of Use” or “Amendment to
Allege Use” with respect thereto, to the extent, if any, that, and solely during the period, if any, in
which the grant of a security interest therein would impair the validity or enforceability of such
intent-to-use trademark application (or any resulting registration) under applicable federal law,
motor vehicles, airplanes and other assets subject to certificates of title, to the extent a Lien therein
cannot be perfected by the filing of a UCC financing statement, Account, Chattel Paper, General
Intangible or Promissory Note in which Grantor has any right, title or interest if and to the extent
such Account, Chattel Paper, General Intangible or Promissory Note includes a provision
containing a restriction on assignment such that the creation of a security interest in the right, title
or interest of Grantor therein would be prohibited and would, in and of itself, cause or result in a
default thereunder enabling another person party to such Account, Chattel Paper, General
Intangible or Promissory Note to enforce any remedy with respect thereto; provided that the
foregoing exclusion shall not apply if (i) such prohibition has been waived or such other person
has otherwise consented to the creation hereunder of a security interest in such Account, Chattel
Paper, General Intangible or Promissory Note or (ii) such prohibition would be rendered
ineffective pursuant to Sections 9-406(d), 9-407(a) or 9-408(a) of the UCC, as applicable and as
then in effect in any relevant jurisdiction, or any other applicable law (including the Bankruptcy
Code) or principles of equity; provided further that immediately upon the ineffectiveness, lapse or
termination of any such provision, the Collateral shall include, and Grantor shall be deemed to
have granted on the date hereof a security interest in, all its rights, title and interests in and to such
Account, Chattel Paper, General Intangible or Promissory Note as if such provision had never been
in effect; and provided further that the foregoing exclusion shall in no way be construed so as to
limit, impair or otherwise affect the Secured Party’s unconditional continuing security interest in
and to all rights, title and interests of Grantor in or to any payment obligations or other rights to
receive monies due or to become due under any such Account, Chattel Paper, General Intangible
or Promissory Note and in any such monies and other proceeds of such Account, Chattel Paper,
General Intangible or Promissory Note. Notwithstanding anything to the contrary herein, no
actions shall be required with respect to the perfection of any security interest in Intellectual
Property in any jurisdiction outside the United States.

        3.      Rights Of Secured Party; Collection Of Accounts.

               (a)     Notwithstanding anything contained in this Security Agreement to the
contrary, each Grantor expressly agrees that it shall remain liable under each of its Contracts,
Chattel Paper, Documents, Instruments, and Licenses to observe and perform all the conditions
and obligations to be observed and performed by it thereunder and that it shall perform all of its
duties and obligations thereunder, all in accordance with and pursuant to the terms and provisions


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of each such Contract, Chattel Paper, Document, Instrument, and License. The Secured Party shall
not have any obligation or liability under any such Contract, Chattel Paper, Document, Instrument
or License by reason of or arising out of this Security Agreement or the granting to the Secured
Party of a lien therein or the receipt by the Secured Party of any payment relating to any such
Contract, Chattel Paper, Document, Instrument or License pursuant hereto, nor shall the Secured
Party be required or obligated in any manner to perform or fulfill any of the obligations of any
Grantor under or pursuant to any such Contract, Chattel Paper, Document, Instrument or License,
or to make any payment, or to make any inquiry as to the nature or the sufficiency of any payment
received by it or the sufficiency of any performance by any party under any such Contract, Chattel
Paper, Document, Instrument or License, or to present or file any claim, or to take any action to
collect or enforce any performance or the payment of any amounts which may have been assigned
to it or to which it may be entitled at any time or times.

                (b)     The Secured Party authorizes each Grantor to collect its Accounts. Upon
the occurrence and during the continuance of any Event of Default, at the written request of the
Secured Party, each Grantor shall deliver all original and other documents evidencing and relating
to the performance of labor or service which created such Accounts, including, without limitation,
all original orders, invoices and shipping receipts.

                (c)    The Secured Party may at any time, upon the occurrence and during the
continuance of any Event of Default, notify Account Debtors of the Grantors, parties to the
Contracts of the Grantors, obligors in respect of Instruments of the Grantors, and obligors in
respect of Chattel Paper of the Grantors that the Accounts and the right, title and interest of the
applicable Grantor in and under such Contracts, Instruments and Chattel Paper have been assigned
to the Secured Party and that payments shall be made directly to Secured Party. Upon the
occurrence and during the continuance of any Event of Default, upon the written request of the
Secured Party, each applicable Grantor shall so notify such Account Debtors, parties to such
Contracts, obligors in respect of such Instruments and obligors in respect of such Chattel Paper.
The Secured Party may, in its name or in the name of others, communicate with such Account
Debtors, parties to such Contracts, obligors in respect of such Instruments and obligors in respect
of such Chattel Paper to verify with such parties, to such Secured Party’s reasonable satisfaction,
the existence, amount and terms of any such Accounts, Contracts, Instruments or Chattel Paper.

        4.     Representations And Warranties. Each Grantor hereby represents and warrants
to the Secured Party that:

               (a)     Except for the security interest granted to the Secured Party under this
Security Agreement and Permitted Liens, each Grantor is the sole legal and equitable owner of
each item of the Collateral in which it purports to grant a security interest hereunder.

               (b)     [Reserved].

                (c)      This Security Agreement creates a legal and valid security interest on and
in all of the Collateral in which each Grantor now has rights.

               (d)    Each Grantor’s correct legal name and taxpayer identification number are
set forth on the signature page hereof. The jurisdiction under whose law each Grantor was



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organized is set forth on the signature page hereof. Each Grantor’s chief executive office, principal
place of business, and the place where such Grantor maintains its records concerning the Collateral
are presently located at the address set forth on the signature page hereof.

       5.      Covenants. Unless the Secured Party otherwise consents (which consent shall not
be unreasonably withheld), each Grantor covenants and agrees with the Secured Party that from
and after the date of this Security Agreement and until the Secured Obligations have been
performed and paid in full and any commitment of the Secured Party to make Loans to any Grantor
has expired or terminated:

                5.1     Disposition of Collateral. Each Grantor shall not sell, lease, transfer or
otherwise dispose of any of the Collateral (each, a “Transfer”), or attempt or contract to do so,
other than (a) the sale of Inventory in the ordinary course of business, (b) the granting of Licenses
in the ordinary course of business, (c) the disposal of worn-out or obsolete Equipment, and (d)
Transfers of Collateral for fair market value as determined by such Grantor in its good faith
business judgment.

               5.2     Change of Name, Jurisdiction of Organization, Relocation of Business.
Each Grantor shall not change its name or jurisdiction of organization or relocate its chief
executive office, principal place of business or its records from such address(es) provided to the
Secured Party pursuant to Section 4(d) above without at least seven (7) days prior notice to the
Secured Party.

                5.3     Limitation on Liens on Collateral. Each Grantor shall not, directly or
indirectly, create, permit or suffer to exist, and shall defend the Collateral against and take such
other action as is necessary to remove, any Lien on the Collateral or Intellectual Property, except
(a) Permitted Liens and (b) the Lien granted to the Secured Party under this Security Agreement.

               5.4     Insurance. Each Grantor shall maintain insurance policies insuring the
Collateral against loss or damage from such risks and in such amounts and forms and with such
companies as are customarily maintained by businesses similar to such Grantor.

               5.5     Taxes, Assessments, Etc. Each Grantor shall pay promptly when due all
property and other taxes, assessments and government charges or levies imposed upon, and all
claims (including claims for labor, materials and supplies) against, the Collateral, except to the
extent the validity or amount thereof is being contested in good faith and adequate reserves are
being maintained in connection therewith.

              5.6     Defense of Intellectual Property. Each Grantor shall use commercially
reasonable efforts to (i) protect, defend and maintain the validity and enforceability of all
Copyrights, Patents and Trademarks material to such Grantor’s business and (ii) detect
infringements of all Copyrights, Patents and Trademarks material to such Grantor’s business.

                5.7     Further Assurances. At any time and from time to time, upon the written
request of the Secured Party, and at the sole expense of each Grantor, each Grantor shall promptly
and duly execute and deliver any and all such further instruments and documents and take such
further action as the Secured Party may reasonably deem necessary or desirable to obtain the full
benefits of this Security Agreement, including, without limitation,


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                (a)     executing, delivering and causing to be filed any financing or continuation
statements under the UCC with respect to the security interests granted hereby, (b) filing or
cooperating with the Secured Party in filing any forms or other documents required to be recorded
with the United States Patent and Trademark Office or the United States Copyright Office, (c) at
the Secured Party’s reasonable request, placing the interest of the Secured Party as lienholder on
the certificate of title (or similar evidence of ownership) of any vehicle, watercraft or other
Equipment constituting Collateral owned by any Grantor which is covered by a certificate of title
(or similar evidence of ownership), (d) executing and delivering and using commercially
reasonable efforts to cause the applicable depository institution, securities intermediary,
commodity intermediary or issuer or nominated party under a Letter of Credit to execute and
deliver a collateral control agreement with respect to any Deposit Account, Securities Account or
Commodity Account or Letter-of-Credit Right in or to which any Grantor now or hereafter has
any right or interest and (e) at the Secured Party’s reasonable request, using commercially
reasonable efforts to obtain acknowledgments from bailees having possession of any Collateral
and waivers of liens from landlords of any location where any of the Collateral may from time to
time be stored or located. Each Grantor also hereby authorizes the Secured Party to file any such
financing or continuation statement without the signature of Grantor.

         6.    Secured Party’s Appointment as Attorney-in-Fact; Performance by Secured
Party.

                (a)     Subject to Section 6(b) below, each Grantor hereby irrevocably constitutes
and appoints the Secured Party, and any officer or agent of Secured Party, effective upon the
occurrence and during the continuance of an Event of Default, with full power of substitution, as
its true and lawful attorney-in-fact with full, irrevocable power and authority in the place and stead
of such Grantor and in the name of such Grantor or in its own name, from time to time, at the
Secured Party’s discretion, for the purpose of carrying out the terms of this Security Agreement,
upon the written consent of the Secured Party, to take any and all appropriate action and to execute
and deliver any and all documents and instruments which may be necessary or desirable to
accomplish the purposes of this Security Agreement and, without limiting the generality of the
foregoing, hereby gives the Secured Party, upon the written consent of the Secured Party, the
power and right, on behalf of such Grantor, without notice to or assent by such Grantor to do the
following:

                       (i)     to ask, demand, collect, receive and give acquittances and receipts
for any and all monies due or to become due under any Collateral and, in the name of such Grantor,
in its own name or otherwise to take possession of, endorse and collect any checks, drafts, notes,
acceptances or other Instruments for the payment of monies due under any Collateral and to file
any claim or take or commence any other action or proceeding in any court of law or equity or
otherwise deemed appropriate by the Secured Party for the purpose of collecting any and all such
monies due under any Collateral whenever payable;

                        (ii)    to pay or discharge any Liens, including, without limitation, any tax
lien, levied or placed on or threatened against the Collateral, to effect any repairs or any insurance
called for by the terms of this Security Agreement and to pay all or any part of the premiums
therefor and the costs thereof, which actions shall be for the benefit of the Secured Party and not
such Grantor;


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                        (iii)   to (1) direct any person liable for any payment under or in respect
of any of the Collateral to make payment of any and all monies due or to become due thereunder
directly to the Secured Party or as the Secured Party shall direct, (2) receive payment of any and
all monies, claims and other amounts due or to become due at any time arising out of or in respect
of any Collateral, (3) sign and endorse any invoices, freight or express bills, bills of lading, storage
or warehouse receipts, drafts against debtors, assignments, verifications and notices in connection
with Accounts and other Instruments and Documents constituting or relating to the Collateral, (4)
commence and prosecute any suits, actions or proceedings at law or in equity in any court of
competent jurisdiction to collect the Collateral or any part thereof and to enforce any other right
in respect of any Collateral, (5) defend any suit, action or proceeding brought against such Grantor
with respect to any Collateral, (6) settle, compromise or adjust any suit, action or proceeding
described above, and in connection therewith, give such discharges or releases as the Secured Party
may deem appropriate, (7) license, or, to the extent permitted by an applicable License, sublicense,
whether general, special or otherwise, and whether on an exclusive or non-exclusive basis, any
Copyright, Patent or Trademark throughout the world for such term or terms, on such conditions
and in such manner as the Secured Party shall in its discretion determine, and (8) sell, transfer,
pledge, make any agreement with respect to or otherwise deal with any of the Collateral as fully
and completely as though the Secured Party were the absolute owner thereof for all purposes; and

                        (iv)     to do, at the Secured Party’s option and such Grantor’s expense, at
any time, or from time to time, all acts and things which the Secured Party may reasonably deem
necessary to protect, preserve or realize upon the Collateral and the Secured Party’s security
interest therein in order to effect the intent of this Security Agreement, all as fully and effectively
as such Grantor might do.

                (b)     The Secured Party agree that, except upon the occurrence and during the
continuation of an Event of Default, they shall not exercise the power of attorney or any rights
granted to the Secured Party pursuant to this Section 6. Each Grantor hereby ratifies, to the extent
permitted by law, all that said attorney shall lawfully do or cause to be done by virtue hereof. The
power of attorney granted pursuant to this Section 6 is a power coupled with an interest and shall
be irrevocable until the Secured Obligations are completely and indefeasibly paid and performed
in full and the Secured Party no longer have any commitment to make any Loans to such Grantor.

                (c)     If a Grantor fails to perform or comply with any of its agreements contained
herein and the Secured Party, as provided for by the terms of this Security Agreement, shall
perform or comply, or otherwise cause performance or compliance, with such agreement, the
reasonable expenses, including reasonable attorneys’ fees and costs, of the Secured Party incurred
in connection with such performance or compliance, together with interest thereon at a rate of
interest equal to the highest per annum rate of interest charged on the Loans, shall be payable by
such Grantor to the Secured Party within five (5) business days of demand and shall constitute
Secured Obligations secured hereby.




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       7.      Rights And Remedies Upon Default. Beginning on the date which is ten (10)
business days after any Event of Default shall have occurred and while such Event of Default is
continuing:

                (a)     The Secured Party may exercise in addition to all other rights and remedies
granted to them under this Security Agreement or the Notes all rights and remedies of a secured
party under the UCC. Without limiting the generality of the foregoing, each Grantor expressly
agrees that in any such event the Secured Party, without demand of performance or other demand,
advertisement or notice of any kind (except the notice specified below of time and place of public
or private sale) to or upon such Grantor or any other person, may (i) reclaim, take possession,
recover, store, maintain, finish, repair, prepare for sale or lease, shop, advertise for sale or lease
and sell or lease (in the manner provided herein) the Collateral, and in connection with the
liquidation of the Collateral and collection of the accounts receivable pledged as Collateral, use
any Trademark, Copyright, or process used or owned by such Grantor and (ii) forthwith collect,
receive, appropriate and realize upon the Collateral, or any part thereof, and may forthwith sell,
lease, assign, give an option or options to purchase or sell or otherwise dispose of and deliver said
Collateral (or contract to do so), or any part thereof, in one or more parcels at public or private sale
or sales, at any exchange or broker’s board or at any Secured Party’s offices or elsewhere at such
prices as they may deem commercially reasonable, for cash or on credit or for future delivery
without assumption of any credit risk. Each Grantor further agrees, at the Secured Party’s request,
to assemble the Collateral and make it available to the Secured Party at places which the Secured
Party shall reasonably select, whether at such Grantor’s premises or elsewhere. The Secured Party
shall apply the net proceeds of any such collection, recovery, receipt, appropriation, realization or
sale as provided in Section 7(e), below, with such Grantor remaining liable for any deficiency
remaining unpaid after such application. Each Grantor agrees that the Secured Party need not give
more than twenty (20) days’ notice of the time and place of any public sale or of the time after
which a private sale may take place and that such notice is reasonable notification of such matters.

                 (b)     As to any Collateral constituting certificated securities or uncertificated
securities, if, at any time when Secured Party shall determine to exercise their right to sell the
whole or any part of such Collateral hereunder, such Collateral or the part thereof to be sold shall
not, for any reason whatsoever, be effectively registered under Securities Act of 1933, as amended
(as so amended the “Act”), the Secured Party may, in its discretion (subject only to applicable
requirements of law), sell such Collateral or part thereof by private sale in such manner and under
such circumstances as the Secured Party may deem necessary or advisable, but subject to the other
requirements of this Section 7(b), and shall not be required to effect such registration or cause the
same to be effected. Without limiting the generality of the foregoing, in any such event the Secured
Party may, in its discretion, (i) in accordance with applicable securities laws, proceed to make such
private sale notwithstanding that a registration statement for the purpose of registering such
Collateral or part thereof could be or shall have been filed under the Act; (ii) approach and
negotiate with a single possible purchaser to effect such sale; and (iii) restrict such sale to a
purchaser who will represent and agree that such purchaser is purchasing for its own account, for
investment, and not with a view to the distribution or sale of such Collateral or part thereof. In
addition to a private sale as provided above in this Section 7(b), if any of such Collateral shall not
be freely distributable to the public without registration under the Act at the time of any proposed
sale hereunder, then the Secured Party shall not be required to effect such registration or cause the
same to be effected but may, in its discretion (subject only to applicable requirements of law),


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require that any sale hereunder (including a sale at auction) be conducted subject to such
restrictions as the Secured Party may, in its discretion, deem necessary or appropriate in order that
such sale (notwithstanding any failure so to register) may be effected in compliance with the
Bankruptcy Code and other laws affecting the enforcement of creditors’ rights and the Act and all
applicable state securities laws.

               (c)     Each Grantor also agrees to pay all reasonable and documented fees, costs
and expenses of the Secured Party, including, without limitation, reasonable and documented
attorneys’ fees, incurred in connection with the enforcement of any of their rights and remedies
hereunder.

              (d)   Each Grantor hereby waives presentment, demand, protest or any notice (to
the maximum extent permitted by applicable law) of any kind in connection with this Security
Agreement or any Collateral.

                (e)     The Proceeds of any sale, disposition or other realization upon all or any
part of the Collateral shall be distributed by the Secured Party in the following order of priorities:

               First, to the Secured Party in an amount sufficient to pay in full the costs of the
Secured Party in connection with such sale, disposition or other realization, including all fees,
costs, expenses, liabilities and advances incurred or made by the Secured Party in connection
therewith, including, without limitation, reasonable attorneys’ fees;

              Second, to the Secured Party in an amount sufficient to pay in full the then unpaid
Secured Obligations; and

               Finally, upon payment in full of the Secured Obligations, to the Grantors or their
representatives, in accordance with the UCC or as a court of competent jurisdiction may direct.

                (f)    The costs of enforcing or pursuing any right or remedy hereunder, including
without limitation any repossession, sale, possession and management (including, without
limitation, reasonable attorneys’ fees), and distribution shall be borne by the Secured Party.




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        8.      [Reserved].

        9.      [Reserved]

        10.      Indemnity. Each Grantor agrees to defend, indemnify and hold harmless the
Secured Party and its officers, employees, and agents againstall obligations, demands, claims,
and liabilities claimed or asserted by any other party in connection with the transactions
contemplated by this Security Agreement and (b) all losses or expenses in any way suffered,
incurred, or paid by any Secured Party as a result of or in any way arising out of, following or
consequential to the transactions contemplated by this Security Agreement (including without
limitation, reasonable attorney’s fees and expenses), except for losses arising from or out of such
Secured Party’s gross negligence or willful misconduct.

        11.     Reinstatement. This Security Agreement shall remain in full force and effect and
continue to be effective should any petition be filed by or against any Grantor for liquidation or
reorganization, should any such Grantor become insolvent or make an assignment for the benefit
of creditors or should a receiver or trustee be appointed for all or any significant part of such
Grantor’s property and assets, and shall continue to be effective or be reinstated, as the case may
be, if at any time payment and performance of the Secured Obligations, or any part thereof, is,
pursuant to applicable law, rescinded or reduced in amount, or must otherwise be restored or
returned by any obligee of the Secured Obligations, whether as a “voidable preference,”
“fraudulent conveyance,” or otherwise, all as though such payment or performance had not been
made. In the event that any payment, or any part thereof, is rescinded, reduced, restored or
returned, the Secured Obligations shall be reinstated and deemed reduced only by such amount
paid and not so rescinded, reduced, restored or returned.

        12.     Miscellaneous.

              12.1 Waivers; Modifications. None of the terms or provisions of this Security
Agreement may be waived, altered, modified or amended except by an instrument in writing, duly
executed by each Grantor and the Secured Party.

                12.2     Termination of this Security Agreement.

                (a)   Subject to Section 11 hereof, this Security Agreement shall terminate upon
the payment and performance in full of the Secured Obligations (other than contingent
indemnification obligations not then due and owing) and the expiration or termination of any
commitment of the Secured Party to make Loans to the Grantors.

                 (b)      The security interests in any Collateral created hereby shall be automatically
released and such Collateral sold free and clear of the Lien and security interests created hereby, in each
case with no further action on the part of any person upon any disposition of Collateral permitted to be sold,
transferred or assigned by a Grantor pursuant or in connection with a transaction permitted hereunder.

                  (c)     Upon any termination or release pursuant to the preceding paragraph (a) or (b), the
Secured Party shall, at Grantors’ expense and written request, execute and deliver to Grantors or otherwise
authorize the filing of such documents as Grantors shall reasonably request, including financing statement
amendments to evidence such termination or release. The Secured Party shall promptly deliver to the



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applicable Grantor any Collateral in its possession upon written request by the issuer, holder or owner
thereof in connection with any release of such Collateral in accordance with the foregoing provisions of
this Section 12.2.

                 12.3 Successor and Assigns. This Security Agreement and all obligations of
each Grantor hereunder shall be binding upon the successors and assigns of such Grantor, and
shall, together with the rights and remedies of the Secured Party hereunder, inure to the benefit of
the Secured Party, any future holder of any of the Secured Obligations and their respective
successors and assigns. No sales of participations in the Secured Obligations or any portion thereof
or interest therein, and no sales, assignments, transfers or other dispositions of any agreement
governing or instrument evidencing the Secured Obligations or any portion thereof or interest
therein, shall in any manner affect the lien granted to the Secured Party hereunder.

                12.4 Governing Law. In all respects, including all matters of construction,
validity and performance, this Security Agreement shall be governed by, and construed and
enforced in accordance with, the laws of the State of New York applicable to contracts made and
performed in such state, without regard to the principles thereof regarding conflict of laws, except
to the extent that the UCC provides for the application of the law of a different jurisdiction.

               12.5    [Reserved].

                12.6 Other Secured Obligations. On or after the date hereof and so long as not
prohibited by the Notes then in effect, the Parent may from time to time designate obligations in
respect of indebtedness issued on or after the date hereof to the Secured Party or any affiliates
thereof (it being understood and agreed that any fund or other person controlled or advised by C5
Capital Ltd. or its affiliates shall be deemed an affiliate of the Secured Party) (“Additional Notes”)
to be secured on a pari passu basis with the then-outstanding Secured Obligations by (a) delivering
the Secured Party a certificate (i) identifying the obligations so designated and the initial aggregate
principal amount or face amount thereof and (ii) stating that such obligations are designated as
“Additional Notes” for purposes hereof. The rights and obligations of each party to this Agreement
shall remain in full force and effect notwithstanding the addition of any Additional Notes to this
Agreement.

                12.7 Counterparts; Facsimile or PDF Copies. This Security Agreement may
be executed in any number of counterparts and by different parties on separate counterparts, each
of which, when executed and delivered, shall be deemed to be an original, and all of which, when
taken together, shall constitute but one and the same agreement. Executed copies of the signature
pages of this Security Agreement sent by facsimile or transmitted electronically in Portable
Document Format (“PDF”), or any similar format, shall be treated as originals, fully binding and
with full legal force and effect, and the parties waive any rights they may have to object to such
treatment.

                                      [Signature pages follow.]




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                   In Witness Whereof, each of the parties hereto has caused this Security Agreement to be
            executed and delivered by its duly authorized officer on the date first set forth above.

                                                             IRONNET, INC.,
                                                             IRONNET CYBERSECURITY, INC.,
                                                             IRONNET INTERNATIONAL, LLC,
                                                             IRONCAD LLC,
                                                             HIGHDEGREE, LLC, each as Grantor


                                                             By:
                                                                   Name: Cameron Pforr
                                                                   Title: President and Chief Financial Officer




                                                             Address of each Grantor

                                                             7900 Tysons One Place
                                                             Suite 400
                                                             McLean, VA 22102


                                                             Jurisdiction of Organization of each Grantor:
                                                             Delaware




                                             Signature Page to Security Agreement
DocuSign Envelope ID: 8187B410-FE4F-4501-B846-EC82C2D164C3
                           Case 23-11710-BLS           Doc 24-1      Filed 10/13/23       Page 54 of 76




                 Accepted And Acknowledged By:
                 FERROUS INVESTORS LP, as Secured Party



                 By:
                       Name: Andre Pienaar
                       Title: Chief Executive Officer




                                                 [Signature Page to Security Agreement]
            Case 23-11710-BLS       Doc 24-1       Filed 10/13/23   Page 55 of 76




                                         Schedule A

        LIENS EXISTING ON THE DATE OF THIS SECURITY AGREEMENT

        Liens granted pursuant to that certain Amended and Restated Security Agreement, dated
as of January 11, 2023, by and among the IronNet, Inc., C5 Space Data LP, Theodore E. Schlein,
VADM Jan E. Tighe (Ret.), Hon. Michael J. Rogers, General Keith B. Alexander (ret.), ADM
John M. McConnell (Ret.), Russell D. Richardson, Forgepoint Cybersecurity Fund I, L.P.,
Forgepoint Cyber Affiliates Fund I, L.P., C5 Cyber Partners II SCSP RAIF, C5 Transatlantic
Investors LP, Ferrous Investors LP, Donald Dixon, and each other secured party from time to
time party thereto, as amended by that certain Amendment to Amended and Restated Security
Agreement, dated as of September 22, 2023.




                                             A-1
                          Case 23-11710-BLS           Doc 24-1       Filed 10/13/23        Page 56 of 76


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                          Date of recordation: 2023-10-12


                  Entire copyright document: _____________


                           Date of execution: 10/11/2023


                                         Title: IRONCAD 2022.; Reg: TX0009061132 and 14 other titles.


                                        Notes: Grant of Security Interest in Copyrights.


                                      Party 1: IRONCAD LLC


                                      Party 2: FERROUS INVESTORS LP


                                      Names: IRONCAD LLC
                                             FERROUS INVESTORS LP
                   Case 23-11710-BLS                   Doc 24-1      Filed 10/13/23   Page 57 of 76
Preview: Generated List of Titles
This list contains titles in document         __________________________

Document title:       Grant of Security Interest in Copyrights




The complete document is:           __________________________
List of titles:
001           IRONCAD 2022.; Reg: TX0009061132.

002           INOVATE 2022.; Reg: TX0009057468.

003           INOVATE 2020.; Reg: TX0008876936.

004           IRONCAD CONFIGURATOR 2020.; Reg: TX0008876926.

005           IRONCAD 2020.; Reg: TX0008876924.

006           IRONCAD 2016.; Reg: TX0008254444.

007           IRONCAD COMPOSE 2016.; Reg: TX0008254443.

008           INOVATE 2016.; Reg: TX0008254442.

009           Inovate 2009.; Reg: TX0007292621.

010           IronCAD 2009.; Reg: TX0007234158.

011           TeamVault 5.0.; Reg: TX0005836986.

012           Inovate 5.0.; Reg: TX0005836985.

013           IronCAD 6.0.; Reg: TX0005836984.

014           Inovate 6.0.; Reg: TX0005836983.

015           IronCAD 5.0.; Reg: TX0005836982.
End of titles list for document         __________________________


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                                  Type of Work: (Preview Mode) Recorded Document

                           Document Number: _____________

                           Date of recordation: 2023-10-12

                   Entire Copyright Document: _____________

              Registration Number Not Verified: TX0009061132

                                           Title: IRONCAD 2022.; Reg: TX0009061132.


                                  Type of Work: (Preview Mode) Recorded Document

                           Document Number: _____________

                           Date of recordation: 2023-10-12
            Case 23-11710-BLS        Doc 24-1    Filed 10/13/23     Page 58 of 76
     Entire Copyright Document: _____________

Registration Number Not Verified: TX0009057468

                         Title: INOVATE 2022.; Reg: TX0009057468.


                 Type of Work: (Preview Mode) Recorded Document

            Document Number: _____________

            Date of recordation: 2023-10-12

     Entire Copyright Document: _____________

Registration Number Not Verified: TX0008876936

                         Title: INOVATE 2020.; Reg: TX0008876936.


                 Type of Work: (Preview Mode) Recorded Document

            Document Number: _____________

            Date of recordation: 2023-10-12

     Entire Copyright Document: _____________

Registration Number Not Verified: TX0008876926

                         Title: IRONCAD CONFIGURATOR 2020.; Reg: TX0008876926.


                 Type of Work: (Preview Mode) Recorded Document

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     Entire Copyright Document: _____________

Registration Number Not Verified: TX0008876924

                         Title: IRONCAD 2020.; Reg: TX0008876924.


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Registration Number Not Verified: TX0008254444

                         Title: IRONCAD 2016.; Reg: TX0008254444.


                 Type of Work: (Preview Mode) Recorded Document

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     Entire Copyright Document: _____________
            Case 23-11710-BLS        Doc 24-1    Filed 10/13/23      Page 59 of 76
Registration Number Not Verified: TX0008254443

                         Title: IRONCAD COMPOSE 2016.; Reg: TX0008254443.


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            Document Number: _____________

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     Entire Copyright Document: _____________

Registration Number Not Verified: TX0008254442

                         Title: INOVATE 2016.; Reg: TX0008254442.


                 Type of Work: (Preview Mode) Recorded Document

            Document Number: _____________

            Date of recordation: 2023-10-12

     Entire Copyright Document: _____________

Registration Number Not Verified: TX0007292621

                         Title: Inovate 2009.; Reg: TX0007292621.


                 Type of Work: (Preview Mode) Recorded Document

            Document Number: _____________

            Date of recordation: 2023-10-12

     Entire Copyright Document: _____________

Registration Number Not Verified: TX0007234158

                         Title: IronCAD 2009.; Reg: TX0007234158.


                 Type of Work: (Preview Mode) Recorded Document

            Document Number: _____________

            Date of recordation: 2023-10-12

     Entire Copyright Document: _____________

Registration Number Not Verified: TX0005836986

                         Title: TeamVault 5.0.; Reg: TX0005836986.


                 Type of Work: (Preview Mode) Recorded Document

            Document Number: _____________

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Registration Number Not Verified: TX0005836985
            Case 23-11710-BLS        Doc 24-1    Filed 10/13/23    Page 60 of 76
                         Title: Inovate 5.0.; Reg: TX0005836985.


                 Type of Work: (Preview Mode) Recorded Document

            Document Number: _____________

            Date of recordation: 2023-10-12

     Entire Copyright Document: _____________

Registration Number Not Verified: TX0005836984

                         Title: IronCAD 6.0.; Reg: TX0005836984.


                 Type of Work: (Preview Mode) Recorded Document

            Document Number: _____________

            Date of recordation: 2023-10-12

     Entire Copyright Document: _____________

Registration Number Not Verified: TX0005836983

                         Title: Inovate 6.0.; Reg: TX0005836983.


                 Type of Work: (Preview Mode) Recorded Document

            Document Number: _____________

            Date of recordation: 2023-10-12

     Entire Copyright Document: _____________

Registration Number Not Verified: TX0005836982

                         Title: IronCAD 5.0.; Reg: TX0005836982.
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                                                                                                                      800-927-9800
                                                                                                                      302-636-5454 (Fax)

Matter#      23396-014                                                                                  Order#                   1289763-1
Project Id : 23396-014                                                                                  Order Date               10/11/2023
Additional Reference : DAVID TARR

                Entity Name:                                          IRONCAD LLC (Debtor) / Ferrous Investors LP (Secured Party)

                Jurisdiction:                                         DE - Secretary Of State

                Request for:                                          UCC Filing

                File Type:                                            ORIGINAL UCC FILING
                Result:                                               Filed

                File Number:                                          20236968688
                Filing Date:                                          10/11/2023


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                               Case 23-11710-BLS                       Doc 24-1            Filed 10/13/23                Page 63 of 76

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Matter#      23396-014                                                                                  Order#                   1289763-2
Project Id : 23396-014                                                                                  Order Date               10/11/2023
Additional Reference : DAVID TARR

                Entity Name:                                          IRONNET, INC. (Debtor) / Ferrous Investors LP (Secured Party)

                Jurisdiction:                                         DE - Secretary Of State

                Request for:                                          UCC Filing

                File Type:                                            ORIGINAL UCC FILING
                Result:                                               Filed

                File Number:                                          20236968654
                Filing Date:                                          10/11/2023


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                               Case 23-11710-BLS                       Doc 24-1            Filed 10/13/23                Page 65 of 76

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Matter#      23396-014                                                                                  Order#                   1289763-3
Project Id : 23396-014                                                                                  Order Date               10/11/2023
Additional Reference : DAVID TARR

                Entity Name:                                          HIGHDEGREE, LLC (Debtor) / Ferrous Investors LP (Secured Party)

                Jurisdiction:                                         DE - Secretary Of State

                Request for:                                          UCC Filing

                File Type:                                            ORIGINAL UCC FILING
                Result:                                               Filed

                File Number:                                          20236968639
                Filing Date:                                          10/11/2023


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                               Case 23-11710-BLS                       Doc 24-1            Filed 10/13/23                Page 67 of 76

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                                                                                                                      800-927-9800
                                                                                                                      302-636-5454 (Fax)

Matter#      23396-014                                                                                  Order#                   1289763-4
Project Id : 23396-014                                                                                  Order Date               10/11/2023
Additional Reference : DAVID TARR

                Entity Name:                                          IRONNET INTERNATIONAL, LLC (Debtor) / Ferrous Investors LP
                                                                      (Secured Party)

                Jurisdiction:                                         DE - Secretary Of State

                Request for:                                          UCC Filing

                File Type:                                            ORIGINAL UCC FILING
                Result:                                               Filed

                File Number:                                          20236968613
                Filing Date:                                          10/11/2023


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                               Case 23-11710-BLS                       Doc 24-1            Filed 10/13/23                Page 69 of 76

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                                                                                                                      800-927-9800
                                                                                                                      302-636-5454 (Fax)

Matter#      23396-014                                                                                  Order#                   1289763-5
Project Id : 23396-014                                                                                  Order Date               10/11/2023
Additional Reference : DAVID TARR

                Entity Name:                                          IronNet Cybersecurity, Inc. (Debtor) / Ferrous Investors LP (Secured
                                                                      Party)

                Jurisdiction:                                         DE - Secretary Of State

                Request for:                                          UCC Filing

                File Type:                                            ORIGINAL UCC FILING
                Result:                                               Filed

                File Number:                                          20236968589
                Filing Date:                                          10/11/2023


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                      Case 23-11710-BLS           Doc 24-1      Filed 10/13/23       Page 71 of 76
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  SUBMISSION TYPE:                     NEW ASSIGNMENT

  NATURE OF CONVEYANCE:                SECURITY INTEREST



  CONVEYING PARTY DATA


                                  Name                                          Execution Date
   IRONNET CYBERSECURITY, INC.                                          10/11/2023
   IRONCAD LLC                                                          10/11/2023



  RECEIVING PARTY DATA


   Company Name: FERROUS INVESTORS LP
   Street Address:    1701 PENNSYLVANIA AVE, NW
   City:              WASHINGTON
   State/Country:     D.C.
   Postal Code:       20006



  PROPERTY NUMBERS Total: 19


           Property Type                                  Number
   Patent Number:                9306965
   Application Number:           17531696
   Application Number:           17330313
   Patent Number:                9910993
   Patent Number:                9875360
   Application Number:           17136582
                          Case 23-11710-BLS                     Doc 24-1           Filed 10/13/23               Page 72 of 76
 Patent Number:                         11507291
 Application Number:                    17990601
 Application Number:                    18231689
 Patent Number:                         11477223
 Application Number:                    17958625
 Patent Number:                         11716350
 Application Number:                    18209645
 Patent Number:                         11716337
 Application Number:                    18209657
 Patent Number:                         10445435
 Patent Number:                         9734266
 Patent Number:                         10192022
 Patent Number:                         7479959



CORRESPONDENCE DATA

Fax Number:                        (212)492-0722
Phone:                             (212) 373-3722
Email:                             rjerry@paulweiss.com, mmcguire@paulweiss.com
Correspondence will be sent to the e-mail address first; if that is unsuccessful, it will be sent using a fax
number, if provided; if that is unsuccessful, it will be sent via US Mail.
Correspondent Name:                RUEL V JERRY
Address Line 1:                    1285 AVENUE OF THE AMERICAS
Address Line 2:                    PAUL WEISS RIFKIND WHARTON &GARRISON LLP
Address Line 4:                    NEW YORK, NEW YORK 10019-6064


NAME OF SUBMITTER:                               RUEL V JERRY

Signature:                                       /Ruel Jerry/

Date:                                            10/12/2023

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  SUBMISSION TYPE:                   NEW ASSIGNMENT

  NATURE OF CONVEYANCE:              SECURITY INTEREST

  CONVEYING PARTY DATA

             Name                      Formerly           Execution          Entity Type
                                                            Date
   IRONNET                                               10/11/2023 Corporation: DELAWARE
   CYBERSECURITY, INC.
   IRONCAD LLC                                           10/11/2023 Limited Liability
                                                                    Company: DELAWARE


  RECEIVING PARTY DATA
   Name:            FERROUS INVESTORS LP
   Street           1701 Pennsylvania Ave, NW
   Address:
   City:            Washington
   State/Country:   D.C.
   Postal Code:     20006
   Entity Type:     Limited Partnership: DELAWARE

  PROPERTY NUMBERS Total: 18
      Property Type       Number                        Word Mark
   Registration          2034285      INTELLISHAPE
   Number:
   Registration          7078225      IRONCAD
   Number:
   Registration          5023333      SMART EBEHAVIOR
   Number:
   Registration          5028737      SMART ECONTENT
   Number:
   Serial Number:        97109709     SMARTSNAP
   Registration          7071809      S SYNERGY
   Number:
   Registration          2099986      TRIBALL
   Number:
   Registration
   Number:               7071810      S SYNERGY

   Registration          5576450      DATA DRIVEN DEFENSE
   Number:
   Registration          5525357
   Number:
   Registration          5376136
   Number:
   Registration          5628294      IRONDEFENSE
   Number:
   Registration          5525358      IRONDEFENSE
   Number:
   Registration          5525359      IRONDOME
   Number:
   Registration          5628295      IRONDOME
   Number:
   Registration          5525356      IRONNET
 Number:                  5525356 IRONNET
                           Case 23-11710-BLS                        Doc 24-1             Filed 10/13/23   Page 74 of 76
 Registration             5376135        IRONNET
 Number:
 Serial Number:           97662781       IRONRADAR


CORRESPONDENCE DATA
Fax Number:                 2124920722
Phone:                      (212) 373-3722
Email:                      rjerry@paulweiss.com, mmcguire@paulweiss.com
Correspondence will be sent to the e-mail address first; if that is unsuccessful, it will be
sent using a fax number, if provided; if that is unsuccessful, it will be sent via US Mail.
Correspondent Name:         Ruel V Jerry
Address Line 1:             1285 Avenue of the Americas
Address Line 2:             Paul Weiss Rifkind Wharton &Garrison LLP
Address Line 4:             New York, NEW YORK 10019-6064


ATTORNEY DOCKET                         023396
NUMBER:

NAME OF SUBMITTER:                      Ruel V Jerry

Signature:                              /Ruel Jerry/

Date:                                   10/12/2023

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              EXHIBIT 4
                                                                      Case 23-11710-BLS                            Doc 24-1                  Filed 10/13/23                    Page 76 of 76


IronNet
Weekly CF                               % of critical vendors
                                           forecast        forecast        forecast         forecast        forecast         forecast        forecast         forecast
                      Week Start:          10/7/23        10/14/23         10/21/23        10/28/23         11/4/23         11/11/23         11/18/23        11/25/23         12/2/23       12/9/23      12/16/23       12/23/23       12/30/23       1/6/24
                      Week End:           10/13/23        10/20/23         10/27/23         11/3/23         11/10/23        11/17/23         11/24/23         12/1/23         12/8/23       12/15/23     12/22/23       12/29/23        1/5/24        1/12/24

Total HC                                              6               32              32               32              32               32              32               32          32            32           32              32            32                32
 Bookings Forecast - Baseline                    -              -                -           126,000              -           195,000              -               -               -              -            -              -          565,185           -
 Beg. Cash Balance                         1,197,864      1,452,899          726,614       1,745,658        2,376,235       2,017,477        3,147,259         691,326         452,663      1,560,315    1,233,223      2,084,164        848,501       832,923
                Sources of Cash:
       + AR Collections - Annual                      -              -        93,624           30,000                  -             -                  -             -                 -           -            -                 -           -                -
     + AR Collections - Monthly                       -              -             -                -                  -             -                  -             -                 -           -            -                 -           -                -
           + AR Partial Payment                       -              -             -                -                  -             -                  -             -                 -           -            -                 -     204,260                -
             + Recurring Billings                     -         50,770             -                -                  -        34,112                  -             -                 -           -       34,112                 -           -                -
+ Collections from Baseline Fcst                      -              -             -                -                  -        10,000                  -        70,000                 -     251,000            -                 -           -                -
             (+/-) ELOC Financing
                           (+/-) Debt
     (+/-) additional investment           1,500,000                       1,500,000       1,500,000                        1,500,000        1,500,000                        1,500,000                  1,500,000
                         Total Inflow      1,500,000            50,770     1,593,624       1,530,000                   -    1,544,112        1,500,000           70,000       1,500,000       251,000    1,534,112                 -     204,260                -
                       Uses of Cash:
               (-) Regular Pay - US          (20,912)                 -     (118,595)               -                  -     (125,596)                -       (118,594)                 -    (125,831)              -    (125,831)                -    (125,831)
                  (-) Other Pay - US             (17)                 -         (235)               -                  -         (235)                -           (235)                 -           -               -           -                 -           -
                 (-) Payroll Tax - US         (9,252)                 -            -          (63,791)                 -      (63,791)       (1,036,000)       (63,791)                 -     (63,791)              -     (63,791)                -     (63,791)
                (-) Stock Comp Tax
                (-) Retirement - US           (2,754)                              -         (21,867)               -         (21,867)                -              -          (21,867)            -      (21,867)              -       (21,867)             -
                     (-) Garnish - US           (169)             -                -            (291)               -            (291)                -           (291)               -          (291)           -            (291)            -           (291)
              (-) Commission - US                  -              -           (7,001)              -                -               -                 -         (7,002)               -             -            -               -             -              -
         (-) International Payroll           (23,594)       (73,626)               -               -                -               -           (73,626)             -                -             -      (73,626)              -             -              -
                     (-) AP Schedule      (1,008,118)      (432,380)        (418,750)       (218,750)        (276,250)              -        (2,808,839)      (118,750)        (102,500)     (239,379)    (550,210)     (1,045,750)            -       (183,629)
           (-) Monthly Recurring             (55,148)      (121,048)         (30,000)       (143,723)         (82,508)        (68,800)          (37,468)             -         (149,231)     (145,800)     (37,468)              -       (79,221)      (147,010)
                Restructuring Fees          (125,000)      (150,000)               -        (451,000)               -        (133,750)                -              -         (118,750)       (3,000)           -               -      (118,750)             -
              (+/-) Bank Transfers
                    Total Outflow         (1,119,965)      (627,054)        (574,581)       (448,423)        (358,758)       (280,580)       (3,955,933)      (308,663)       (273,599)      (575,092)    (683,171) (1,235,663)         (101,088)      (520,552)
End Cash Balance                           1,452,899        726,614        1,745,658       2,376,235        2,017,477       3,147,259          691,326         452,663        1,560,315     1,233,223    2,084,164        848,501        832,923       312,371
